   Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 1 of 112 PageID #: 70
                                                                                          OS. DISTRICT COURT
                                                                                     WESTERN DISTRICT OF LOUISIANA
                                                                                               RECEIVED
                                                    23-cv-0249
                    BEFORE THE UNITED STATES JUDICIAL PANEL lvtAK ° ]
                             ON MULTIDISTRICT LITIGATION ,TONY R. MOO^C^K
                                                                                                        DEPUT/



IN RE: Crop Protection Products Loyalty

Program Antitrust Litigation MDL No. 3062



                               NOTICE OF RELATED ACTIONS

        In accordance with Rule 7.1 (a) of the Rules of Procedure for the United States Judicial
Panel on Multidistrict Litigation, defendant Corteva, Inc. writes to notify you of the related actions
listed on the attached schedule of actions.




        A docket sheet and complaint for each is attached.

        Dated this 28th day of February, 2023.




                                                  Respectfully submitted,


                                                  /s/ David R. Mamott



                                                  David R. Marriott
                                                  Cravath, Swaine & Moore LLP

                                                   825 Eighth Avenue
                                                  New York, NY 10019


                                                  Counsel for Corteva, Inc.
     Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 2 of 112 PageID #: 71



                     BEFORE THE UNITED STATES JUDICIAL PANEL
                               ON MULTIDISTRICT LITIGATION


IN RE: Crop Protection Products Loyalty

Program Antitrust Litigation                                                    MDL No. 3062



                           SCHEDULE OF RELATED ACTIONS


        Plaintiffs             Defendants         District    Civil        Judge
                                                              Action No.

1.      H&R                    Syngenta Corp.;    W.D.        6:23-cv-     Judge Robert R.
        Farms II               Syngenta Crop      Louisiana   00249        Summerhays
                               Protection, LLC;
                               Syngenta Crop
                               Protection AG;
                               Corteva, Inc.;
                               BASF SE;
                               BASFCorp.;
                               BASF
                               Agricultural
                               Products Group

2.
        Teche Farm             SyngentaCorp.;     W.D.        6:23-cv-     Not yet assigned
                               Syngenta Crop      Louisiana   00267
        Supplies
                               Protection, LLC;
                               Syngenta Crop
                               Protection AG;
                               Corteva, Inc.;
                               BASF SE;
                               BASFCorp.;
                               BASF
                               Agricultural
                               Products Group
Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 3 of 112 PageID #: 72



                      BEFORE THE UNITED STATES JUDICIAL PANEL

                               ON MULTIDISTRICT LITIGATION


  IN RE: Crop Protection Products Loyalty

  Program Antitrust Litigation MDL No. 3062


                                       PROOF OF SERVICE

        In compliance with Rule 4.1 (a) of the Rules of Procedure for the United States Judicial

 Panel on Multidistrict Litigation, I hereby certify that copies of the foregoing Notice of Related

 Actions were served on all parties in the following cases electronically via CM/ECF on February

 28, 2023. I have also served or caused to be served counsel representing the parties in the


 Related Action listed in the Schedule of Related Actions, indicated with an asterisk below, by

 email. Copies of the Notice of Related Action were also sent to the clerks of court in the districts

 in which all actions have been filed via first class mail.



 Charles Anderson v. Syngenta Crop Protection AG et al., M.D. North Carolina, No. 1:22-858


 Frederick C. Croscut v. Syngenta Crop Protection AG et al., M.D. North Carolina, No. 1:22-899


 R&D Dairy Farm v. Syngenta Crop Protection AG et aL, M.D. North Carolina, No. 1:22-01050


 Sayler Farms, LLC v. Syngenta Crop Protection AG et al., M.D. North Carolina, No. 1:22-1055


 DonaldF. Deline v. Syngenta Crop Protection AG etal., M.D. North Carolina, No. 1:22-1056


 Slovak v. Syngenta Crop Protection AG et aL, M.D. North Carolina, No. 1:22-1059


 King v. Syngenta Crop Protection AG et aL, M.D. North Carolina, No. 1:22-1117


 R N D Hillside Farms Co. v. Syngenta Corporation et aL, M.D. North Carolina, No. 1:22-l 127


 Meadows et al. v. Syngenta Crop Protection AG et al, M.D. North Carolina, No. 1 :22-1128


 Pleasantdale Farms, Inc. v. Syngenta Crop Protection AG et al, M.D. North Carolina,
        No. 1:23-60
Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 4 of 112 PageID #: 73




Justin W. Jenkins v. Corteva, Inc. et aL, M.D. North Carolina, No. 1:23-117


Turner v. Corteva, Inc. et aL. M.D. North Carolina, No. 1:23-163


KM Farms Inc. v. Corteva Inc. et aL, M.D. North Carolina, No. 1:23-164


Psencikv. Corteva, Inc. et al., M.D. North Carolina, No. 1:23-165


Bohrer Farms, Inc. v. Syngenta Crop Protection AG et al., M.D. North Carolina, No. 1:23-166


Goodman Planting Co. v. Syngenta Crop Protection AG et al., M.D. North Carolina,
     No. 1:23-156


Graham v. Syngenta Crop Protection AG et al, M.D. North Carolina, No. 1:23-179


Teske v. Syngenta Crop Protection AG et aL, M.D. North Carolina, No. 1:23-90


Grapperhaus v. Syngenta Crop Protection AG et al., M.D. North Carolina, No. 1:23-153


Sheller Farms, LLC v. Syngenta Crop Protection AG et al, M.D. North Carolina, No. 1:23-167
Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 5 of 112 PageID #: 74



 *H & R Farms II v. Syngenta Corporation et al., W.D. Louisiana, No. 6:23-249


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Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 6 of 112 PageID #: 75




 *Teche Farm Supplies v. Syngenta Corporation et al., W.D. Louisiana, No. 6:23-267


 Attorneys for Plamtiff Teche Farm Supplies:

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Kyle Oxford                                     Amanda Klevom
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Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 7 of 112 PageID #: 76



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 Middle District of North Carolina
 United States District Court
 324 West Market Street #400
 Greensboro, NC 27401

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 Clerk of Court
 Western District of Louisiana
 John M. Shaw United States Courthouse
 800 Lafayette Street, Suite 2100
 Lafayette, LA 70501
Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 8 of 112 PageID #: 77




Dated: February 28, 2023 Respectfully submitted,


                                          /s/ David R. Marriott
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                                          Attorney for Defendant Cor/eva, Inc.
   Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 9 of 112 PageID #: 78

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                                        U.S. District Court
                              Western District of Louisiana (Lafayette)
                    CIVIL DOCKET FOR CASE #: 6:23-cv-00249-RRS-DJA


H & R Farms II v. Syngenta Corp et al                       Date Filed: 02/23/2023
Assigned to: Judge Robert R Summerhays                      Jury Demand: Plaintiff
Referred to: Magistrate Judge David J Ayo                   Nature of Suit: 410Anti-Trust
Cause: 15:15 Antitrust Litigation                           Jurisdiction: Federal Question

Plaintiff
H & R Farms II                                 represented by Warren T Burns
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     Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 10 of 112 PageID #: 79

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                                                                    Email: koxford@burnscharest.com
                                                                    ATTORNEY TO BE NOTICED


V.

Defendant

Syngenta Corp

Defendant

Syngenta Crop Protection L L C

Defendant

Syngenta Crop Protection A G

Defendant

Corteva Inc

Defendant

BASFSE

Defendant

BASFCorp

Defendant

B A S F Agricultural Products Group


Date Filed      # Docket Text
02/23/2023      i   COMPLAINT against All Defendants with Jury Demand (Filing fee $402, receipt number
                    ALAWDC-5472001) filed by H & R Farms II. (Attachments: # 1 Civil Cover Sheet)
                    (Attorney Warren T Burns added to party H & R Farms II(pty:pla))(aty,Burns, Warren)
                    (Entered: 02/23/2023)
02/23/2023          CASE Assigned to Judge Robert R Summerhays and Magistrate Judge David J Ayo.
                    (crt,Chavis, J) (Entered: 02/27/2023)

02/23/2023      1   MOTION to Certify Class by H & R Farms II. ADMINISTRATIVE ENTRY to capture
                    motion relief requested within pdf of doc 1 Complaint. Motions referred to Magistrate
                    Judge David J Ayo. (crt,Chavis, J) Modified entry to add docket number on 2/27/2023
                    (Chavis, J). (Entered: 02/27/2023)

02/27/2023      2   SUMMONS ISSUED as to BAS F Agricultural Products Group, B A S F Corp, B A S F S
                    E, Corteva Inc, Syngenta Corp, Syngenta Crop Protection A G, Syngenta Crop Protection L
                    L C. (crt,Chavis, J) (Entered: 02/27/2023)

02/27/2023      3   NOTICE of Corporate Disclosure Statement Requirement sent to Warren T Bums on behalf
                    of H & R Farms II. Corporate Disclosure Statement due by 3/13/2023. (crt,Chavis, J)
                    (Entered: 02/27/2023)
      Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 11 of 112 PageID #: 80
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                                        UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF LOUISIANA

          H & R FARMS 11
                                                                       Case No.
                          Plaintiff,
          V.

                                                                       CLASS ACTION
          SYNGENTA CORPORATION, SYNGENTA
          CROP PROTECTION, LLC, SYNGENTA CROP
          PROTECTION AG, CORTEVA, INC., BASF SE,
          BASF CORP, and BASF AGRICULTURAL                            JURY DEMANDED
          PRODUCTS GROUP

                          Defendants.



                                           CLASS ACTION COMPLAINT

                 Plaintiff H & R Farms II ("Plaintiff), by its undersigned counsel, on its own behalf and on

         behalf of all others similarly situated (the "Class," as deSned below), brings this action against

         Defendants Syngenta Crop Protection AG, Syngenta Corporation, and Syngenta Crop Protection,

         LLC (collectively, "Syngenta"); BASF SE, BASF Corporation, and BASF Agricultural Products Group

         (collectively, "BASF"); and Corteva, Inc. ("Corteva"; collectively with Syngenta and BASF, the

         "Defendants") and alleges as follows:


                                         X. NATURE OF THE ACTION

                 1. Farmers have been grappling with skyrocketing operating expenses for the last

         several years. In a 2018 survey, 80% of farmers reported their costs were increasing and they were


         unable to pay their debts—estimated to exceed <j>400 billion in 2019.


                2. A large portion of a farmer's operating expense is related to the purchase of crop


         protection products, which include agricultural pesticides. There are three main categories of


         pesticides: herbicides, insecticides, and fungicides. These products are used by farmers and growers to


         target unwanted plants or weeds^ insects, and fungal diseases, respectively.
      Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 12 of 112 PageID #: 81
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                3. Defendants, through the use of "loyalty" or "rebate" programs with cooperating


        distributors, unfairly impede competitors and artificially inflate the prices that farmers pay for

        pesticides. These programs substantially hindered access by farmers to lower-co st generic alternatives.


                4. Similar to the regulatory framework governing the pharmaceutical industty, the


        pesticide industry is subject to patent and safety regulations that confer certain exclusivity benefits on

        developers of new active ingredients thnt are /ipptoved by the United States Environmental Protection


        Agency ("EPA ). Under Congress's patent and regulatory scheme. Defendants are "basic"


        manufacturers that imtially develop, patent, and register the active ingredients that make pesticides


        effective. Once approved, these basic manufacturers possess certain exclusive rights for a period of


        years. Once die exclusivity period expires, generic manufacturers may enter the market with


        equivalent products that contain the same active ingredients and rely on the same toxicology and


        environmental impact data first developed by those bnsic manufacturers. Competition from generic


        products leads to significant price reductions.


                5. On September 29, 2022, following an investigation, the FTC filed a complaint

        against Defendants alleging that Defendants loyalty programs foreclose generic competition and

        result m higher prices for farmers in violation of federal antitrust law.

                6. As revealed by the FTC's mvestigation. Defendants' loyalt)^ programs provide that


        Defendants wlU make payments to participating distributors in the form of rebates," based on their

        purchases of Defendant-branded pesticides, but under one condition: distributors must limit their


        purchases of generic pesticides to a set pet'centage. Indeed, Defendants ensure that distributors profit


        more from accepting Defendants' "rebate" payments than they would from distributing a higher


        volume of lower-priced, generic pesticides.




        ' Complaint, FTC ef a!. v. Syngenta Crop Protection AG et o/., 1:22"cv-00828 (M.D.N.C. Sept. 29, 2022),
        ECFNo. 1.
     Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 13 of 112 PageID #: 82
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               7. Distributors dominate the sale of crop protection products in the United States.


        Thus, the scheme among the respective Defendants has substantially foreclosed generic competitors


        from efficient distribution of their products. Even when distributors offer competing generics, their

        agreements with Defendants restrict the sale of these generics to minimal volumes, forcing the generic


        manufacturers to market their products through less efficient channels of distdbutlon. While

        Defendants benefit, farmers are left to pay supra-competltlve prices for pesticides and are deprived of

        access to cheaper generic altematlves.


                8. As a result of Defendants* and the distributors' conduct, Defendants have


        restrained competition, maintained unlawful monopolies, and harmed America's farmers, reducing


        choices for these farmers and costing diem millions ofdoUars In overcharges.


               9. Plaintiff seeks to recover damages in the form of overcharges that it and the Class


        defined herein Incurred due to Defendants' violations of the antitrust laws in the markets for certain


        pesticides. Defendants engaged in conspiracies with distributors to illegally extend and maintain their

        respective monopolies with respect to certain crop protection products by entering into loyalty

        programs to delay generic competition, in violation of Sections 1 and 2 of the Sherman Act (15 U.S.C.

        §§1,2) andSection3oftheCIaytonAct(15U.S.C.§ 14). For Aese claims, Plaintiff and Class members

        herein seek treble damages and mjunctive relief under 15 U.S.C. §§15 and 26, and other just relief.




                                                  II. PARTIES

               A. Plaintiff


               10. Plaintiff H & R Farms II is an farm pat'mership headquartered at 30026 Burnell

        Road, Gueydan, LA 70542.

               B. Defendants
      Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 14 of 112 PageID #: 83
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                 11. Defendant Syngenta Corporation is a corporation organized and operating under the


        laws of the State of Delaware with a principal place of business at 3411 Silverslde Road, #100,

        Wihnington, Delaware 19810. Syngenta Cotporation may be served trough its registered agent. The

        Corpofation Trust Company, at Corporation Trust Center, 1209 Orange Street, WUmlngton, DE


         19801. Syngenta Corporation transacts or has transacted business m tl-us Judicial District either directly


        or through its agents.


                 12. Defendant Syngenta Crop Protection, LLC, is a limited liability company organized

        and operating under the laws of the State of Delaware, with its principal place of business at 410 South

        Swing Road, G-reensboro, North Carolina 27409. Syngenta Crop Protection, LLC may be served


        through its registered agent, C T Corporation System, at 208 South LaSalle Street, Suite 814, Chicago,

        Illmois 60604. Syngenta Crop Pt'otection, LLC transacts or has transacted business in this Judicial


        District either directly or through its agents.

                 13. Defendant Syngenta Crop Protection AG is headquartered in Basel, Switzerland

        and is organized and existing under the laws of Switzerland. Since in or about May 2021, Syngenta Crop


        Protection AG has been an indirect subsidiary of Sinochem Holdings Corporation Ltd., a chemical

        company based in Beijlng, China. Syngenta Crop Protection AG's North American headquarters is

        located within in its 70-acre campus in Greensboro, North CMoUna. Syngenta Crop Protection AG


        transacts or has transacted business in this Judicial District either directly or through its agents.


                 14. Corteva, Inc. is a publicly held corporation headquartered at 9330 ZlonsviU-e Road,


        Indianapolis, Indiana 46268. Corteva is the successor company to the agrisuence businesses ofEJ.


        du Font de Nemours ("DuPont") and Dow Chemical Company ("Dow"). Corteva is a corporation


        organized and existing under the laws of the State of Delaware. Substantially all of Corteva's revenue


        is derived from sales of seeds and crop protection products to farmers, distributors, Mid
     Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 15 of 112 PageID #: 84
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        manufacturers. Indeed, Corteva sold $4.382 billion m crop protection products in just die first half of

        2022. Corteva transacts or has transacted business in this Judicial District either directly or through its

        agents.


                  15. Defendant BASP SE is a multinational global chemical company headquartered in

        Ludwlgshafen, Germany. It is the largest chemical producer in the world. BASP SE transacts or has


        transacted business in dlls Judicial District either directly or through its agents.


                  16. Defendant BASF Corp. is headquartered at 100 Park Avenue, Florham Patk, New

        Jersey 07932 and is the North American affiliate ofBASF SE. BASF Corp. transacts or has transacted

        business in this Judicial District either directly or through its agents.


                  17. BASP Agricultural Products Group is a division ofBASP SE and is headquartered

        at 14385 West Port Arthur Road, Beaumont, Texas 77705. BASP Agricultural Products Group

        transacts of has transacted business in this Judicial District either directly or through its agents.

                                       III. njRISDICTION AND VENUE

                  18. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

        1331 and 1337(a) and 15 U.S.C. § 26.

                  19. Venue is proper in this District pursuant to 15 U.S.C. § 22 and 28 U.S.C. § 1391 (b)

        and (c) because Defendants transacted business throughout the United States, including in this Judicial

        District, during the Class Period.

                  20. This Court also has personal jurisdiction over Defendants because during the Class

        Period, Defendants sold and shipped certain crop protection products in a continuous and


        unintermpted flow of interstate commerce, which included sales of certain crop protection products


        in the United States, including In this Judicial District. Defendants' conduct had direct, substantial,

        and reasonably foreseeable effects on interstate commerce in the United States, including in this

        Judicial District
      Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 16 of 112 PageID #: 85
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                                         IV. FACTUAL ALLEGATIONS

                A. The Pesticide Industry

                21. Most pesticides sold in the United States are sold to farmers and growers for use


        as crop protection. Pesticides protect crops by killing or controlling pests—/'.(?., diseases, weed, insects,


        and other ofgamsms—and thus are known as "crop protection products." As used herein, and


        consistent with mdustiy practice, die term "pesdcides" tefers collectively to insecticides (including


        nemanticldes), herbicides, and fungiddes.

                22. All pesticides contain at least one "active ingredient" or <<AL" The active ingredient


        is the chemical substance that kills or controls the targeted plant, animal, or fungal pest. Active


        ingredients may be sold in two forms: (1) as standalone active mgredients, which can be mixed \vith


        inactive Ingredients such as water, adjuvants, surfactants, or in some cases other active ingredients, prior


        to application; or (2) as part ofpre-rruxed pesticide formulations that are read}r to be applied to crops.


                23. Several criteria serve to distinguish one active ingredient from another, mcluding


        the pest(s) they target, their effectiveness, die crops for which they are suited, due stage of die growing


        cycle at which they can be used, and their performance under prevailing climate tind weather


        conditions. Moteover, each active ingredient has what is referred to as a "mode of action," which is


        the chemical and biological sequence of events that causes a pesticide to kill or control the targeted


        pest. While active ingi-'edlents that share a common mode of action tend to have similar uses, there


        are often differences in performance and other reasons why one active ingredient cannot readily


        replace another for a given application or a given condition, and why farmers may prefer one active


        Ingredient over another. As a result, fi chemicaUy equivalent generic pesticide is a closer substitute for


        a given branded product than is a product containing a different active ingredient. Accordingly, active

        ingredients do not readily replace each other in a given application or condition.


                24. Defendants formulate, market, and sell agricultural pesticides. They themselves
     Case 6:23-cv-00249-RRS-DJA Document 5 Filed 03/01/23 Page 17 of 112 PageID #: 86
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        may synthesize die active ingredients for their own fully fofmulated pesticide products, or they may

        purchase the active ingredients in their pesticide formulations from other manufacturers.


                25. "Basic" manufactuters are those that reseat'ch, develop, and patent new active


        ingredients. Defendants are basic manufacturers and among the largest manufacturers of pesticides m


        the United States and globally.

                26. Generic manufacturers primarily sell pesticides containing active ingredients

        initially developed by basic manufacturers. To do so, they must wait for regulatory and patent

        exclusivity periods on the active ingredients to expire. More than a dozen generic manufacturers sell


        pesticides in the United States.

                27. In general, pesticide manufacturers sell to distributors that sell to, and in many cases


        are integrated with, retail oudets across the United States. This is referred to as the "traditional


        distribution channel.


                28. Selling through distributors is the most efficient way for a pesticide manufacturer

        to reach farmers for a variety of reasons. Distributors offer services such as warehousing,


        transportation, credit and marketing, among others. They provide access to a network of customers,


        including farmer and retail customers dispersed throughout the country. And they provide scale tind


        services that would require substantial investments if a manufacturer attempted to replicate the same


        services on its own. Even then, manufacturers lack the pre-existing reltitionships that retailers maintain


        with farmers in their local region. Accordingly, a manufacturer cannot effectively compete without


        access to the traditional distribution channel

                29. By selling to a relatively small number of distributors, die manufacturer can reach


        thousands of retailers, who can in turn reach hundreds of thousands of farmers with greater efficiency.


                30. In fact, upon information and belief, sales through this traditional distribution

        channel account for approximately 90% or more of all sales of pesticides in the United States. Just seven
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        disfcributofs—including Wimfield Solutions, LLC, Uiiivar Solutions, Inc., Nutrien AG Solutions, and

        Helena Agri-Enterprises—account for more than 90% of sales through the traditional channel, and


        therefore account for approximately 80% or more of all sales of pesticides to farmers m die United


        States.


                  B. Regulatory Framework


                  31. Congress's patent and regulatoty framework governing pesticides seeks to


        encourage innovation for the developejfs of new active ingredients, while simultaneously facUitating


        generic entry into the market and price competition after patents expire and exclusivity periods end.


                  32. A basic manufacturer of a new active ingredient can apply fof U.S. patent protection


        for a term beginning when the patent issues and expiring twent)T years after die initial patent


        application.


                  33. The basic manufacturer may also obtain certain exclusive rights under the Federal


        Insecticide, Fungicide, and Rodenticlde Act ("PIFRA"). FIFRA requires submission, review, and

        approval by the United States Environmental Protection Agency ("EPA") of detailed toxlcology and

        environmental impact data prior to the sale or distribution of any pesticide in the United States to

        ensure the product's safety.


                  34. Once the EPA approves a new active ingredient, die original manufacturer receives


        the exclusive right to cite the data it submitted in support of its active ingredient registration for ten

        years. Often, this ten-year exclusivity period extends beyond the basic manufacturer's patent


        protection, bestowing twenty-plus years of exclusivity on die basic manufacturer.


                  35. After the basic manufacturer's exclusivity expires, a generic manufacturer of


        pesticides with a pesticide product containing die same active ingredien): may enter the market. These


        products may be equivalent to the basic manufacturer's product ("branded product") or may combine


        the active ingredient with other ingredients to make new products. A generic enti'anf must apply to
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        teglster its product for sale in die United States under FIFRA. However, FIFRA peuTiits generic

        entrants to rely on die basic manufacturet's data. In turn, the basic manufacturer may be entlded to


        compensation payments for its data, depending on due generic entrant's reliance on the data.


                   36. Generic pesticides and active ingredients are usually sold at lower prices than the

        equivalent branded products sold by Defendants. As the generic manufacturers enter die market and


        gain market share, price competition ensues, causing the branded products' price and sales volume to


        decline.


                   37. When the brand manufacturers expect generic entry on an active ingredient,


        Defendants employ certain strategies intended to block generic entry at the end of patent exclusivity

        and minimize die impact on prices and market shares of their branded products. Incentivixmg


        distributors to circumvent generic entry, through so-called "loyalty programs," is instrumental to


        Defendants' strategies.


                   C. Defendants* Loyalty Programs


                   38. Defendants have each benefited from long-lasting exclusivity rights under

        Congress's framework. But, unwlUing to relinquish the pricing and market-share benefits of exclusivity


        after exclusivity rights expire. Defendants implemented loyalty programs through agreements with

        distributors who collectively make up the majority of all pesticide sales in the United States. Each

        Defendant designs and administers its loyalty program with the purpose, intent, and expectation that


        the program will impede generic competition and thereby maintain market prices and branded market

        share at levels higher than would otherwise prevail in a competitive market. Each does so for its own


        benefit and for die benefit of its respective distributor.

                   39. Under their respective loyalty programs, Defendants offer substantial exclusion


        payments to distributors, conditioned on their limiting their sales of generic crop protection products

        contammg specified post-patent AIs.
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                 40. Defendants are among the top 20 global agrochemlcal companies. Indeed, in Fiscal


        Year 2021, Syngenta was reported to be number one (with !J>13.3 billion in sales), BASF w?is reported

         to be number three (with $7.7 billion in sales), and Corteva was reported to be number four (with <|7.2

        billion in sales).


                 41. Defendants' loyalty programs sidelined generic manufacturers' products, aUowing


        Defendants to maintain market share despite pricing their crop protection products above competitive


        levels. The programs aUow distributors to reap profits from prolonged elevated pricing of Defendants'

         branded pesticides. Through this, each Defendant has substantially achieved and maintained its

        monopolistic goals tlii'ough its loyalty program with distributors. Defendants have kept generic

        manufacturers from supplying meaningful competition which allowed Defendants to raise, fix,


        maintain, or stabilised prices for certain crop protection products above competitive levels.


                 42. Syngenta operates its loyalty program—called the "Key AI" program—\vith both


        distributors and retailers. The Key AI progfam is implemented through written marketing agreements


        with distributors. BASF operates a similar program through what it now calls its "Share of Wallet"

        ("SOW") program with its distributors. Corteva likewise operates a similar program with its

        distributofs through what it now calls its "Retailer Advantage program.


                 43. Through their respective loyalt)7 programs. Defendants Incentivize distributors to


        refuse to sell generic manufacturers' pesticides. This enables Defendants to increase market prices and


        maintain or increase their shares of pesticides relied on by farmers.


                44. Defendants' loyalty programs are specifically designed to maintain supra-


        competitive prices and profits, which the Defendants then share with their distributors, at die expense




        2 Shane Thomas, Upstream AG Insights - October 16, 2022, UPSTREAMAG INSIGHTS (Oct. 16, 2022),
        http://upstreamaginsights.substack.com/p/upstream-ag-insights-october-
         16th?utm_source:=profile&utm medium=reader2.



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        of farmers, in return for die distributors restricting generic manufacturers' access to the traditional


        distribution channel. The agreements require participating distributors to meet very high loyalty

        thresholds for each active ingredient and to deter them from marketing significant volumes of

        competing, lower-priced generic products, in exchange for a share of the profits resulting from the


        scheme.


                45. Defendants' agreements with distributors provide exclusion payments in exchange


        for selling and, by prerequisite, stocking certain volumes of specific AIs. Whether labeled as "loyalty

        thresholds," "loyalt)^ requirements," or described In terms of "qualifying EDI products volumes

        (where "EDI" refers to "Environmental Data Initiative"), these programs incendvize distributors to


        drastically limit both their supply and sale of generic products for specific AIs.

                46. Because the loyalty program incentive payments are so important to tlte


        distributors' profits. It is virtually guaranteed that distributors will sell minimal amounts of generic

        products, as they must reach the obligatory thresholds under the loyalty programs to garner such

        profits. Some loyalty program agreements go so far as to forbid distributors from purchasing any

        products from generic manufacturers. Some distributors have deferred generic product purchases


        until the end of the season to make sure they meet the required threshold under the loyalty programs,


        leaving farmers without a feasonable choice of product during the time farmers most need It.


        Defendants and distributors have firmly upheld the terms of their loyalty programs. Indeed, if a

        distributor fails to so restrict its sales of generic product pursuant to die loyalty program agreement,


        it will be monetarily penalised.

                47. The volume of sales by participating distributors assures Defendants that no

        significant competing distributor will partner closely with lower-priced generic manufacturers.


                D. Loyalty Agreements: Their Operation and Effect

                48. Over several years. Plaintiff purchased from one or more of the distfibutors




                                                            11
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        identified above, who were incentlvized to stock and sell such branded products pursuant to the


        programs described below. Although Defendants have used varying termmology, threshold

        requirements, and EDI volumes as their programs developed, the unlawful intent and nature of these


        agreements has remained consistent.


                         1) Syngenta's "Loyalty Program"

                 49. As early as 2004, Syngenta acted with distributors to incendvize their stocking and

         sale of its certain brand products to U.S. farmers. The 2004 agreement covered AI products that are


         at issue here, as seen below:


                                                                                         2004 SOUTHERN FIELD CROPS
                                                                                                        K f- •? ..'•. i i. k ?( P ^ U d K A fVi


                                 Portfolio Sales Support
                                 •Re^ardr, fle(,3/few fw tiieif 5tewdrdsiiip of SyngmSd bisridi.




                                  Corn eind colto;! '>s"i:d tuinnieicifllly      Flireh.Kf; and -;(>SI 'lyngcnta bwwk In gic^vpf
                                  iieated \\W-\ 1 lie Sytiyc.ntii Secci
                                  TfWtmt'ni pfotiLKI - rftli'pr'.



                                 Bulk Support
                                 Rewards flcla/e/s !w ste'MiVdship and inwlment in haiitie-i for all Syngcnts bulk hreinds,.




                                  Beep H MAGNUM' b',indi, lnul
                                  MACiNUM" ttrands, anri IUMA>;'M                                                       Slew.mJdnp oi S^'n(|<*rita htli: tiriiinfs.
                                                                                                           Def. 31st,   * Rull, ^ito insptCTOn 8 mmp'iaitic
                                  AAtrra". Houndary". E>:f'?'1',
                                                                                                             2MH        • Rcluiiw iigrees to acfqil ,l rninimLjrn
                                  Piifid'ii', SequdK.e'" ^nc(
                                  TniK'ildowrr tndiidi except (;F                                                         •ihil.ime.'fit by the Key Oritet

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                                  tiwvil". C;i(Mr(i!~ ci(nl G'amoxoiip Milt;''
                                                                                                          M;)r-. Uti;     tttf^. ititti bland dt eacli loCBti^m.
                                  font hi town' CF                                                           /iXM




                 50. To further maintain its monopoly, Syngenta unlawfully targeted generics by

         mcentivmng Retailers to block generic mfiltration into Relevant Markets, as depicted m this 2004


         Loyalty Program Agreement.




                                                                                           12
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                  Key Active Ingredient Support
                  Rewards Retailers for their loyalty to Syngenta brands where a generic alternative exists.

                         ;WIa,;,.f::;'i':"'" -BRANDS: '. i^.^iNGisIA^:ji :.'::faciinyR;;
                      llN^DIENTSj,^,^,^ ^ , ^:^,::.;.|>rH^i|@|aiHAHE] ^".l:.^.^uvt
                   Abamectln               Agri-mek'*, Zephyr" and Clinch"

                                           Ooundary" Bicep 11 MAGNUM* brands,
                   5-metoiachlor           Dual MAGNUM" brands, Expert™
                                           LUMAX™ and Sequence™                     98%
                   Paraquat                Gramoxone Max'"
                   lambda Cyhatothrin      Warrior" and Karate"                                            5%
                   Flumetraiin             Primed                                   95%
                   Chtorothaioni!          Bravo® brands and TilrVBravo2'
                   Propiconazole           Orbit™ and Tilta                         90%
                   Mefenoxam               Ridomil Golda brands
                   Prometryn               Caparol^"                                85%



                 51. This 2004 Loyalty Program protected multiple AIs, including paraquat—which

         each Plaintiff purchased—-by requiring retailers to meet a 98% threshold share in order to coUect a

         5% incentive payment. The threshold requirement meant that the participating retailer could not carry


         or sell greater than 2% of competing generic products containing these AIs, essentially blocking any

         meaningful competing generic products from entering this point in the distribution chain.

                 52. Through additional incentive programs, distributors could achieve even greater


         profits by meeting each "support" programs' mandatory stocking, selling, or blocking incentive


         requirements. The profits from the maximum incentive programs shown below would have translated


         into the millions:




                                                                  13
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                  Summary of Maximum Potential Incentives under 2004 Syngenta
                  Southern Field Crops Retailer Offer.


                   Bic^p N MAGNUS brands. Dual MAGNUM'- brands
                   ctncf LUMAX™
                   AAtrex", Braver' bMnds, ISoundar/', Caparol". Expert'",
                   Grarnoxone Ma>;7''1, SpquencerM and Touchdown brands
                   Pfincep'"




                   AAtreX". Abound8-, Agri-fflpk-, Amislaffw, Btep 11 MAGNUM"
                   brands, Boiifiddry^, Bravo" brand&, Crf[tiix1M, Caparol*. C<illistoIM,
                   Centrir", Clinch'', Curduor!'1', Cniiser on <.o[rtrnerdal!y treated
                   cotton seed. Denim'", Dw\ MAGNUM' hMnds, Envoke™,
                   Expert™, Fle?(5lar\ Force-'' 3G, fusilflde", Kision", Gftimoxons
                   Max™, t.UMAX, Omega', Orbit", Ptfltinum*. Platinurn^/Sidomif
                                                                                                                                  9%
                   Gold', Prime"1", Proclaim , Quadn->', Ouadris /Bcavrt", QuiltfM,
                   Reffpx', Rtdomi! Gotrf" brands. Ridonii! /Bravo , Sequence™,
                   SDprend™, Eilt/Bravo", Touchdown^ brands except CF, Utiiform1M
                   (Quadiiv'/tiidumil Gold"), Zephyr'

                   Ali oihpf panic ipciting partage hrdiK.ls                                                                      4%




                53, Importantly, although bmed as a "retailer" program, the program is reflective of


         the mdusteys blurred distinction between retailers and distributors. Syngenta defined "Retailers" as "a


         retail business which purchases Syngenta products from Syngenta of an ^luthori^ed Syngenta


         Distributor who has been appointed by Syngenta to sell and service eUgible Syngenta products withm


         the retailer's geographic area and resells such products to growers/


                 54. The program uses the term "distributors/' as shown below, when delineating the


         qualifications for participating in the same programs:


                        Su,3 ?-tionTI,i f?ffof"'IIl'!c(l iw th!^[o(^im.tire dewminFd based on nel EOI ^te tiaiiMdiw; as rofwrted by an aUhofized Syngenls
                        .^\ '^(wa^ th(?n so!d logfow?s r*if!!EO! 'K)les 3^ defint-cf <3s puKhases in weight or voiume minus <)ny leturris fron; atonlicictGcISyngpntd
                          ^ no,r' pufcl1ci\e?frofT) f"e'igfble frlitire 01 unamhorizCTJ diMnbutors will hs d ^qualified and not indjcied ir> (<tfaiifji-fl[ion or payfrien!.
                        voiumes dotcfmirwd by Syngentii to be 'biokereci' will be diiqualified.
                     m Sri'ei fioin fleidiler-tu-Rctdllcr do no! quaiify for qudlificatiors ievek or progfan-i ifirpntSvc".

                     • Dit,tfi!jutors and Diitfitiulor-owned Rpt.'iiiprs unnut da'sm s.itos to or from independent Retailers for qualification and or inrpntiw jiaynient
                        Uddei this pfoqram Any t.a!e-> made by a Uisifitiutijr must tie repofteci to Syngenta with acandle Retailer or 'oix.l user' designation.
                        Sfporting sales !o H(.'(,]ilprs ^ 'end usw< is f^iud anci witi result in dfitd Ijcing dedarcd inciigfble for cons'deirition m this progfam.
                        Rcportiny of en-'essivp qudntilie;. lliat eflLiatc to mofc products than rin 'end u^er' fan USP on fiii jcrCttge wift resuit in dtttd being decLiFL't!
                        iiKtigibie for rorssideration in OA program. Scifpa to 'brokers'(including fntcrnot brokei-,), and otiiei:> that are nol fonsidered RetaiifTs bv
                        definition in this pfoyram will be disqualified. Syngertta reserves the riyii! to be the fina! authority in determining the validity of data arid
                        the indusiun of said Aiti) in Ihis proyrani.



                 55. A similar 2016 Syngenta loyalty program agreement shows the continued scheme

          to protect its monopoly of "key AIs" by rewarding retailers for supporting certain Syngenta AIs when




                                                                                             14
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        a generic alternative exists. The image below, excerpted from the 2016 Syngenta LP, shows


        continuation of incentives on older AIs and inclusion of new AIs.



          Section 2. Key Active Ingredient Support
          Reward Retailers for Iheir support of Syngenta products whero a generic alternative exists.
                                                                                                      RETAILER SUPPORT   INCENTIVE
          ACTIVE INGREDIENTS                                      PRODUCTS                               THRESHOLD
                                      Acuron. Callislo 4SC, Callisto GT. Callislo Xtra, Halex GT,
          Mesotrione                                                                                        99%
                                      Lexar EZ, Lumax E2, Zemax
                                                                                                                            5%
          Clodinalop                  Discover NG                                                           98%

                                      Abcxind, Quadris, Quadris Opli, Quadris Top, Quadris Top SB,
          A^oxyslrobin                                                                                      94%             10%
                                      Quadris Top SBX, Quilt, Quilt Xce], Uniform

          Diquat                  j Reglone
                                  I
                                  I   ...   ....   -




          Flumotralin                 Prirne+


          Fomesafen                   Ftexslar, Fiexstar GT, Rexstar GT 3.5, Prefix. Reflex
                                                                                                            00%
          MBfenoxain                  Quadris Ridomi! Gold, Ridomil Gold brands, Ridomil Gold Bravo

                                      Bicep II Magnum brands, Bicep Lite II Magnum, BroadAxe XC,                            5%
          S-metolachlor (S-MOC)       Boundary, Dual Magnum, Dual II Magnum brands, Expert,
                                      Sequence

          Abamectin                   Agri-Flex, Agri-Mek SC


          Lambda Cyhalothrin          Karate with Zeon Technology, Warrior I! with Zeon Technology          85%

          Paraquat                    Gramoxone SL, Gramoxane SL 2.0




                   56. The products above are listed by AI, including axoxystrobin and paraquat, all of

        which have been purchased by Plaintiff. Retailers are required to stock and sell ench Syngente AI at a

        certain threshold in order to receive an incentive {/.e., a rebate).


                   57. Thus, by way of example, to obtain the 5% incentive applicable to mesotrione, the

        retailer must achieve a threshold of 99% Syngenta mesotnone sales. For azoxystrobin, the threshold


        is 98% and the incentive is even highet—10%. And for s-metolachlor, it is 90%. Older AIs, such as


        paraquat and lambda cyhalothrin, tliat once required a 98% threshold m 2004, still required an 85%

        threshold in 2016. Thus, the threshold and incentive amounts changed, but die objective did not.


                   58. The purpose and effect of the 2016 loyalty program remained the same: in order

        to obtain the incentive, a retailer must virtuaUy exclude from Its inventory generic products containing


        the AI. Such incentive payments have a substantial impact on distributors' income.




                                                                              15
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                59. As reflected in these documents, Syngenta polices these t'equirements rigorously. It


         starts by collecting data from the distributors, which must provide information about their total net

        sales to farmers of Syngenta and generic products before Syngenta will make incentive payments.


        Syngenta provides distributors \vith a handy digital calculator app to assist them in making sure they

        have correctly calculated due necessary support threshold. Syngenta reserves die right to verify the


        accuracy of the distributors' matli and to independently audit the threshold figures to confimi, to

        Syngenta s satisfaction, that the retailers have earned Syngenta's incentive award by selling die fequifed


        percentages ofSyngenta AI. Syngenta has had these programs for many years.


                60. As also reflected in these documents, Syngenta can modify die incentive system, at


        wiU, based on its determination of changes in die market, and has full discretion to change the AI


        calculator at any time to reflect what Syngenta believes are the current marketplace conditions.


        Syngenta s loyalty progKun thus deprives generic competitors of the ability to gain meaningful market

        share, as is intended. Such suppression of generic market penetration causes the Plaintiff and farmers


        to pay ardficmlly mamtained, liigher prices for these products.

                        2) BASPs EDI program and SOW program

                61. BASF's history of acting with distributors has included utilizing BDI volume goals

        to disincentivize stocking and selling of competitor generic products and later mcorporatmg its "Share


        of Wallet" program to accomplish the same objective.


                62. Like Syngenta, and in accordance with industry practice, BASKs 2004 loyalty

        program agreement encompassed actions by participating distributors. (Excerpts from the 2004 BASF

        LP are attached as Exhibit 3). As seen in die below excerpt from the 2004 BASF loyalty program,

        though BASF's program is labeled as a "Retailor Package Program," it also explicitly includes




                                                            16
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        distributors under "Eligibility.




                 EtlwtKK Woltw1,SW3




                 Objective:
                 To strengthen long-term, strategic, business reiationships between BASF and Retailer accounts by rewarding focal demand
                 creation efforts and stewardship of BASF package brands. 8ASF endeavors to asssst Retailers in growing their business
                 with grower customers through product technology, convenient packaging and product support.


                 Program Pwod:
                 October 1,2003 through September 30,2001


                 Effective Area:
                 All states in the U.S. markelang area


                 £fs(libilitv:
                 a All Retaiiers meeting Ihe minimum BASF net sales ?r$ required for its defined geography reported through EDI by
                      October 8,2004,

                 a Oniy purchases from BASE Aulhorized Distributors will be eligibie.



                63. Under its 2004 program, BASF sought to exclude generic competition by

        incentivizing participating distributors to maintain at lesst 90% of specific brand BASP sales from year

        to year. Incentives were based on "Net EDI sales defined as Authorized Distributor transmissions of


        product movement transactions" from October 1, 2003, through September 30, 2004.


                64. If a participant failed to obtain a 90% repeat of sales from years 2003 to 2004,

        BASF's offer rebate was halved, causing a loss of profits within the millions for ?iny participating

        distributor. The pi-'ogram's associated schedules are detailed below.




        3 2004 BASF Retailer Package Program.
        4/f/.



                                                                      17
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                                                                               if 2004 Total Oualitied BASF Neti if 2004 Total Qualified 0ASF
                                                                                 EOt Sales (Bu!k + Package) is Net ED) Sales (Bulk 4 Package))
                                                                                                                is Uss Than 90% of Retailer'si
                                                                                2003 Total Quaifiied BASF Nel   2003 Total Qualffied BASF Net i
                                                                                          ED! Sales                        ED! Sates
                   Apogee", Beyond"", Cabrio'" EG, Cadre<1' DG, CfSflty"',
                   Conclude Xsct^Counter'8 CR and 15G, Dsslinct* Facet"',
                   Frontier", G-Max Lite'", 6uafdsmanii°, Gtiarclsman Maxw,

                   Newpath^, Nexte^, Pentia'", Pi^ Plus, Pix" Ultra,
                   Ponnax", Outfook", Prowl"EC, Prowl" HaO,
                   Pursuit , PLjrsuif PIUS| Raptoi , Regenl , Rezu!tw,
                   Rcepter^ Squadron1", Sovran"''.


                   Acrobat" 50WP, Backdraff SL, Celebrily Plussi, Extreme"
                   MarksmarT, Paramount", Pyramite", Ronilan'8,
                   Steel?'. Weeijmaster1".




                 " Exducisngthe sfates of WA, OR, ID, MT. CA, UI, NV



                 u Payment Incentives will be calcuteted at a Retailer's Operatmg Unit level.

                 a Ail Payment incentives will be based on Net ED1 Sates defined as Authorized Disiributor iransmissions oi produd inovement
                      transactions via EDi (purchases fess returns) from October 1,2003 to September 30,2004.


                 65. The program's requirement that participating distributors essentially repeat thelr


         percentage of participating brand product sales from 2003-04, worked to ensure that there would be


         Uttle room in the market for generic competitors selling the AIs at issue.


                 66. In 2022, BASP continued its efforts to thwart generic intrusion of its key AI market

         into the traditional distribution channel through its adapted loyalty program, which is now called

         <(sow."


                 67. The term SOW indicates the percentage of sales of BASF branded products that a

         retailer must achieve to earn the "Base Incentive" for the "AI Loyalty Brands." As with Syngenta, the


         program is policed through a requirement that the retailer submit SOW percentages to BASF to be

         entitled to any incentive payments.


                 68. This BASF 2020-21 loyalty program agreement required participants to maintain



                                                                         18
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        90% to 95% thresholds on multiple brand products to receive Its valuable SOW incentive. As shown

        below, BASF listed those AI products, all believed to be off-patent, which were subject to 90% or

        higher threshold requirement.


                  4. Al Loyalty Requirement:


                                                           BRANDS SOW REQUIREMENT ACTIVITY

                       BOSCALID          Endura EG fungicide. Pristine EG fungicide                               90%
                                        Cabrto fungicicte. Headline AMP fungicide,
                                           Headline EC fungicide. Headline SC
                                          fungickfe, Merivon fLingicide, Nexicor
                         F 500                                                                                    90%
                                          fungickle, Prlaxorfungicide, Pristine EG
                                         fungicide, Revytek fungicide, and Veltyma                                                   BASF Authorized Retailer
                                                          fungi c ide                                                                 is required to submit
                                        Liberty herbicide, Noventa™ herbicide, and                                                       SOW% through
                     GLUFOStNATE-                                                                                                      enrollment tool by
                                          BASF sourced private label Glufosmate-                                  90%
                     AMMONIUM*                                                                                                          October IS, 2021
                                                         aminonium
                                         Beyond lieibicide, Raptor herbicide, and
                      IMAZAMOX                                                                                    95%
                                                    Varisto herbicide
                                       Prowl 3.3 EC herbicide, Prowl H20 heibickie
                    PENDIMETHAUN             and 8ASF sourced private label                                       90%
                                                     Pendimethalin
                                                  'Glufosinite-arTmoniumlo/alt^ftquiMmtntiswaiVtdfor AZ,Ct, FL.IO. NV.OR. LTTandWA


                          a. In order to earn the Base Incentive on Al Loyalty Brands (listed above) an active ingredient Share of Wallet (SOW) is
                               required at the thresholds indicated as the SOW Requirement:

                                       90% SOW on Boscalid containing brands
                                       90% SOW on F500 containing brands
                                       90% SOW on GlLifosinate-ammonium containing brands
                                       95% SOW on Imazamox containing brands
                                       90% SOW on Pendimethafin containing brands



                        3) Corteva's, and Its Predecessor DuPont's, EDI Volumes Programs


                69. Cotteva, and its predecessor Dupont, used EDI volumes as the basis of its various


        programs to incentivize participating distributors to limit generic competition to its key AIs.

                70. Prior to the merger of Dow and DuPont, the latter had in place the "DuPont


        Agricultural Retailer Sales & Service Incentive Offers" program that offered incentive payments to


        retailers profiting on DuPont crop protection products.


                71. The program was implemented by rebates calculated with reference to "base


        incentives" and "additional incentives" that allowed distributors to engage in "stewardship" for


        DuPont branded products, which meant selling less generic competitive products. Likewise, prior to




                                                                            19
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        the merger, Dow had a similar program that incentivized "Stocking" and "Stewardship for its


        branded products.


                72. Dow's Stocking incentive required retailers to stock and sell a certain threshold


         percentage of its branded products. More specifically, the Stocking progt-am required participants to


         stock ?ind sell an amount of certain AI products based on the previous year's EDL, ensuring that only


         a minimum percentage of generic, competiting products could enter that participant's chain of


         distribution. As seen in the image below, the stocking threshold for certain AIs reached up to 75% of


         the previous year's EDI volume.




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                 73. As seen below, the same 2005-06 program also offered a Stewardship incentive


         program for certain products that met an 80% EDI threshold:




                                                                                  20
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                 4. Dow AgroScicnccs inny make program progress payments during the 2005-2006 Market Yciir:
                    (;0 Progress piiyments me btiiicd on 80% nfihe stewitrdstiip eaminys of pnrlicipiHiitg product.s calctilsited from
                        EDl-re ported tiatn avuiiable 10 Dow AgroScicnccs.
                    (b) Final paynwii! issufd by December 31, 200f).
                    (c) l-'ol lowing the prugmm end date ;i>id fisKil paytiwiit Ibr the 2005-2006 proyr;un, nny change in w ED! product value rcstihmg
                       in n negative program carnjng wjli bt; deducted irom fttturc Dow AgroScicnccii Rclaii Program c;im!iigs.



                74. In a 2015 DuPont loyalty program agreement, patdcipants had to exceed their priot

         year's sales of specific AIs and products in exchange for an additional profitable bonus offer. The

         105% threshold seen below meant that even fewer generic competitor products than the small

         percentage allowed under the program's terms the previous year would be allowed to compete.


                  Sales and Service Pays
                  The Sales and Service Pays incentive is a reward for achieving total portfolio growth vs the prior year.

                  Criteria
                  * Qualify for the Retail Advantage - Sales and Service incentive
                  • Earn 1% on total portfolio sales with growth of 105% over prior year.
                  * Earn another 1 % on the total portfolio if safes growth of the following products coliectivety total 105% over
                     prior year.
                           • Afforla™, Aproach® Prima, Coragen®, Envive®, Fontefjs®. LeadOff®, Prevathon®, Realm® Q and
                              Vydate® C-LV.




                 75. Programs similar to the 2005-06 DuPont program are carried on by Corteva.


         Corteva's loyalty program agreement is reflected in the below image, excerpted from its 2020-21


         Retailer Offers brochure.




                                                                          21
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                76. To obtain the rebates promised under tins program, the Retailer must be a


        significant force in die market, with a minimum of $i50,000 in Co-fteva sales during the previous year.


        The distributor must also work closely with a Corteva Territory Manager, which would necessarily


        impede it from making any purchases of generic crop protection products manufactured by generics


        that compete with Corteva branded products. And the distributor must submit valid grower dafa to


        Corteva consisting of an Excel spreadsheet reflecting purchases from it by growers.


               E. Exclusive Loyalty Programs are Detrimental to U.S. Farmers.


               77. In September 2022, the FTC, joined by multiple state Attorneys General ("AGs")




                                                                                                         22
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        filed a lawsuit against Defendants over these practices. The lawsuit and the separate jolnder


        statements of state AGs unequivocally assert that, after an extensive invesdgation, Defendants are


        engaged in a scheme to minimize generic penetration of the markets for AIs used in crop protection

        by bribing distributors through incentives that ensure they will seU little, if any, generic alternatives.

                78. The consequences for farmers are significant because generic competition


        translates Into lower retail prices for affected crop protection products; thus, Plaintiffs and farmers'

        incomes are directly and negatively affected.


                79. In announcing his state's joinder in this action, the Minnesota AG stated:


                                 To encourage innovation, companies such as Syngenta
                                  and Corteva can mitiaUy develop, patent, and register
                                  active ingredients in their products and exploit their
                                  commercial potential for several years. After those
                                 protections expire, generic manufacturers may enter
                                 the market with products with the same active
                                 ingredients and relying on the same toxicology and
                                 envu-onmental impact studies. This cofnpetition ord'wwy
                                  kads to dramatic price ndnctions, henefifwg farmers and
                                  con snmcrs.


                80. An op-ed piece by FTC Chair Lina Kli.an, published in the Des Moines Register

        explained the issue in greater detail:

                                 The scheme starts with patents. Companies like
                                 Syngenta and Corteva are in the business of inventing
                                 new active ingredients for pesticides. Each time they
                                 do, they get to patent that Invention. A patent entitles
                                 an inventor to a 20-year period where only they are
                                 allowed to sell the Invention. But there's a
                                 compromise: Once die patent expires, anyone is free
                                 to bring a generic version into the market. That's \vhy


        3 Federal Trade Commission, et ai v. Syngenta Crop Protection ^G,M.D.N.C. l:22"cv-00828
        (9/29/2022) at ^ 90, available at,
        https://www.docketaIann.com/cases/North_Carolina_Middle_District_Court/l""22"cv-
        00828/FEDERAL TRADE COMMISSION et al v. SYNGENTA CROP PROTECTION AG et_aVl/.
         Donnelle Eller, Iowa joins 9 states m suing agpestidde makers, aUegmg an ficompefjtive practices, DES
        MOINES REGISTER (Sept. 30, 2022),
        http://www.desmoinesregister.com/story/money/agriculture/2022/09/30/iowa-joms-states-suing-corteva-
        syngenta-over-loyalty~programs-lawsuit/69528808007/.



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                                when you have a headache, for example, you can
                                choose between Tylenol and generic acetairdnophen.
                                When someone holds d patent they can generally
                                charge high prices, given that nobody else can sell that
                                product. But once the patent expires and generics
                                come in, the original patent holder should have to
                                compete with them, including on price.
                                Syngenta and Corteva weren't satisfied with this
                                compromise. They wanted to keep raking in big profits
                                even after the patents expired. To do tliat, our lawsuit
                                aUeges, each company plotted to cut farmers off from
                                cheaper generic alternatives. In general, manufacturers
                                don't sell pesticides duectly to farmers. They sell to
                                distributors. Syngenta and Corteva realized that these
                                distributors were a potential choke point. So they each
                                launched "loyalty progtams" in which distributors who
                                bought their products would receive large payments,
                                styled as a rebate. The catch: If those middlemen
                                distribute too many generic pesdcldes, they don't get
                                the money. In other words, distributors get paid to
                                exclude generics.
                                This works out the way you'd expect. Distributors
                                don't want to miss the payments, so they go along with
                                the program. After all, it doesn't hurt them to spend
                                more on brand-name pesticides, because they get to
                                pass those costs on to retailers and, ultimately, to
                                farmers. With distributors understocking geneucs,
                                farmers end up having little choice but to buy Syngenta
                                and Corteva. And here is the payoff to the whole
                                scheme: Because farmers are locked into buying their
                                stuff, Sy-ngenta and Corteva can keep charging inflated
                                prices, as if their products were stUl under patent. The
                                pesticide giants can make more profits by blocking
                                rival products from due market than by competing with
                                them.7


        Imporfantly, die FTC complaint refers to similar arrangements.


                81. The difference in price between die branded product subject to a loyalty program

        and its generic substitute can be substantial; in some instances, die generic product's retail price can




         Lina Khan, Opimon: AG compames' loyalty programs wifairly extract profits from consumers, DES
        MOINES REGISTER (Oct. 6, 2022),
        http://www.desmoinesregister.com/story/opinion/coluinnists/2022/10/06/syngenta-cortevafarmers-
        lawsuit-unfairly"extract-profits"from-consuiners/69542239007.



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        be 8% of the branded product's retail price.


               F. Defendants^ Andcompetitive Activities are Ongoing and Unceasing.


                82. Defendants had the opportunity to discuss and coordinate their respective loyalty

        programs tlu'ough CropLife America ('<CLA>?), the national trade association that represents the


        manufacturers, formulators, and distributors of crop protection products. Only manufacturefs and


        distributors of crop protection products are eligible for full membership in CLA. Corteva, BASF, and

        Syngenta are members ofdbis trade association; a representative ofCorteva fofmerfy chaired its Board


        ofDkectoi-s and its current chair, elected m 2022, is Paul Rea ofBASF Agricultural Products Group.


        Coordination with respect to loyalty programs was also available through the Agricultural Retailers

        Association ("ARA"), which "advocates, influences, educates and provides services to support its


        members in thelf quest to maintain a profitable business environment, adapt to a changing world and


        preserve their freedom to operate.' Current members of the Board of ARA include representatives


        ofNutrien, Corteva, and Syngenta. The CRA cooperates extensively with the ARA.


                83. Syswato Das, a spokesperson fot Syngenta, has said that the loyalty programs are


        part of a longstanding <W/////^y andm^ist^-stwdardprogmf}/'' (emphases added) and asserted that "[w]e

        are disappointed that the FTC has failed to appreciate the beneficial effects that these rebate programs

        provide to our channel partners and to growers." Kris Alien of Corteva expressed similar views. And


        Vem Hawkins, Syngenta's President of Crop Protection, has taken the extreme step of accusing Lina


        Khan of the FTC of lying in her aforementioned op-ed article.

                G. Relevant AIs


                           Syngenta AIs


         ARA, https://www.aradc.org/about/about-ara (last accessed Feb. 13,2023).

         Margey Eckelcamp, 8 Thing to Know About fhe FTC Suing Syngenta and Corfeva, (Oct. 1 0,2022),
        http://www.thepacker.com/news/produce-crops/8-things-know-about-ftc-suing-syngenta-and-corteva.

          Meghan Grabner, Syngenta Pushes Back Against FTC Complaint, (Nov. 2, 2022),
        http://brownfieldagnews.com/news/syngenta-pushes-back-against-ftc-complaint/.



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                84. Syngenta's loyalty program applies to several AIs, a number of which Plaintiff has

        purchased over the course of several years. The Syngenta AIs that are the primary focus of this


        Complaint are metolachlof (and s-MetolachIor), mesotuone, azoxystrobm, paraquat, and lambda


        cyhalothrm. These are referred to collectively as the "Syngenta Relevant AI(s)."


                85. Metolachlw (s-Metofachlor). Metolachlor (which term is used herein to refer to

        both the original metolachlor compound and the subsequent s-metolachlor variant, each as described


        below) is an herbicide used on a wide variety of crops, including corn, soybeans, grain sorghum, cotton,


        peanuts, potatoes, vegetables, sunflowers, and sugar beets. Sales of crop protection products


        containing metolachlor in the United States exceeded $400 million in 2020.


                86. Syngenta's relevant patent protection for its original metolachlor expired in or


        about 1996. A Syngenta predecessor company developed, p/itented, and registered a variant of the


        original metolachlor, known as s-metolachlor. Syngenta's relevant patent protection for s- metolaclilor


        and subsequent exclusive-use period for s-metolachlor expired In 2003. As noted in the 2016 Syngenta


        document discussed above, s-metolachlor sales by a Retailer that reached die 90% threshold were


        sub ect to a 5% incentive rebate.


                87. Mesotrione. Mesotrione is a widely used corn herbicide. Sales of crop protection


        products containing mesotrione in the United States exceeded ^200 million in 2020. Mesotuone was


        mitiaUy developed, patented, and registered with the EPA by Syngenta (including Syngenta affiliates).

        Syngenta s relevant patent protection for mesotuone has expired.


                88. Under its loyalty program, Syngenta made exclusion payments to its distributors

        who refrained from marketing significant volumes of competing, lower-priced generic mesotrione


        products. As noted ill the 2016 Syngenta document discussed above, Retailers who recorded 99% of


        branded mesotrlone products could obtain a 5% loyalty rebate.




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                89. Genetic manufacturers have made few inroads widi distributors. At least two


        generic manufacturers delayed or terminated their planned entry into the mesotrione market due to


        loyalty-program concerns.


               90. A^oxysfrobin. Azoxysfrrobm Is a broad-spectrum funglcide that protects a wide


        variety of crops faom fungal diseases. It has annual global sales of over ^1 billion. Sales of crop-

        protection products containing azoxysttobin In the United States exceeded ^100 million in 2020.

        Azoxysttobin was initially developed, patented, and registered with the EPA by a Syngenta

        predecessor company. Syngenta's exclusive-use period under PIPRA has expired. As noted in die 2016


        Syngenta document discussed above, azoxystroblnwas subject to a 98% loyalty threshold requirement


        for which a Retailer could obtain a 10% rebate.

               91. Fomssafen, Fomesafen is a widely used s elect! ve-applied amd foliar herbicide for

        control of broadleaf weeds m soybeans. In 2018, approxumtely six million pounds of fomesafen were


        applied. Fomesafen was initially developed, patented, and registered with the EPA by Syngenta

        (including Syngenta affiliates). As noted in the discussion of the 2016 Syngenta document, fomesafen

        was subject to a 90% retailer support threshold for which RetaUei's received a 5% rebate.


               92. Paraquat. Paraquat is one of the most-widely used herbicides. It 1-iad ?ti^nual global


        sales of over $90 million in 2021. Paraquat was initially developed, patented, and registered with the

        EPA by a Syngenta predecessor company. Syngenta's exclusive-use period under FIFRA has expired.


        As noted in the 2004 Syngenta document discussed above, paraquat was subject to a 98% loyalty

        threshold requirement for which a Retailer could obtain a 5% rebate.


               93. Lambda Cyhalothnn. Lambda cyhalothrin is an agricultural pesticide. Sales of

        Lambda Cyhalothrin in 2020 have been estimated at $1.25 billion worldwide. Lambda Cyhalotltrin


        was initially developed by a Syngenta predecessor company and was registered by the EPA in 1988.

        Syngenta has sold and sells products containing lambda cyhalothrin under the names Kamte® and



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        Warrior®, among others. Lambda cyhalothrin received patent protection until 2003. As noted m the


         2004 Syngenta document discussed above, lambda cyhalothrin was subject to an 98% loyalty threshold

         requirement for which a distributor could obtain a 5% incentive payment from Syngenta.


                94. Under its loyalty program, Syngenta has made exclusion payments to its distributors

        who refrained from marketing significant volumes of competing, lower-priced generic Syngenta


         Relevant AI products. As noted in the Syngenta documents discussed above, Syngenta Relevant AI


         sales by a distributor that reached exceptional threshold ranges, m some cases as high as 99%, were


         subject to significant incentive rebates worth mUUons to participatmg distributors.

                95. During the relevant time period, Syngenta's loyalty program substantially limited

         and foreclosed generic manufacturers from ptovlding effective competition in the sale of Syngenta's


        Relevant AI products. As a result, Syngenta and its co-conspiring dlsU'ibutors have bene&tted from


        supra-competitlve prices of Syngenta Relevant AI products even though generic manufacturers


        introduced competing AI products m the United States after the expmition of Syngentfi's Relevant


        AI(s) patent exclusivity. Generic products containing these same AIs were priced significandy below

        Syngenta s existing crop protection products.


                96. Under Syngenta's lo}^lty programs, its distributors strictly managed their generic

        AI(s) open space, focused on marketing Syngenta Relevant AI products, rather than the competing


        generic's equivalent AI products, and m some cases, stopped selling generic products despite


        customers' continued demand for lower-priced Syngenta Relevant AI products. The loyalty program


        ensures distributors sell minimal, if any, generic Syngenta Relevant AI crop protection products in


        exchange for loyalty rebates.


                97. Syngenta^s prices remain sigmficandy above competitive levels. Syngenta's loyalty


        program has resulted m higher prices for crop protection products containing each of Syngenta's


        Relevant AI(s) than would prevail in a competitive market.



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                           BASPs Relevant AIs


                98. As noted in the BASF's 2022 "Pfogram Summary Guide" discussed above, BASF's


        loyalty program extends to five products^ all of which are believed to be off patent.

                99. They are: (1) boscalid^ a broad spectrum carboxmide herbicide initially used with

        specialty crops and now extended to other crops such as cereals and oilseed rape; (2) FJ^OO, offering

        speedy ?ind long-lasting effectiveness m controUiiig a broad range of key fungal diseases in sensitive


        populations in over 60 crops; (3) glufosinate aftfmomum, one of the most wldely-applied broad

        spectrum herbicides, used in controlling weeds in a huge variety of worldwide crops; (4) tMa^omo^

        a selective broad spectrum herbicide used for eliminating broadleaf and grassweed, particulafly m

        connection with soybean crops; and (5) pendimetkalin, a preemergence and postemergence herbicide


        used to control grasses and broadleaf weeds. All these crop protection products are among BASF s


        most profitable. These five products are referred to herein as the "BASF Relevant AI(s).


                100. During the relevant time period, BASP's loyalty program substantially limited and

        foreclosed generic manufacturers from providing effective competition in the sale of acetochlor

        products. As a result, BASF has benefitted from supra-competidve prices of acetochlor products.


        Generic manufacturers introduced acetochlor products in the United States after the expitatlon of


        BASF's patent exclusivity. Generic competitors' products containing the BASF Relevant AI(s) were

        priced lower than those products. Nevertheless, generic manufacturers have made few inroads with


        distributors.


                101. Under the loyalty program, distributors stricdy managed their generic acetochlor

        open space, focused on marketing the BASF Relevant AI products rather than generic products, and


        in some cases, stopped listing generic products despite customers continued demand for lower-priced


        counterparts. The loyalty program ensures distributors sell minimal amounts of, if any, generic


        acetochlor crop protection products.




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                102. BASF's loyalty program has deterred generic manufacturers from mtrodudng

        counterparts to products containing the BASF Relevant AIs m the United States, at all, or from


        offering innovative new products.


                103. BASFs prices remain significantly above competitive levels. BASF>s loyalty

        program agreements have resulted in higher prices for crop protection products containing BASF

        Relevant AIs than would prevail m a competitive market.


                Corteva^s Relevant AIs


                104. Corteva's loyalty program applies to a number ofAIs. Those Corteva AIs diat ate


        the focus of this Complaint are oxamyl, rimsulfuron, and acetoclilor (collectively referred to as the


        "Corteva Relevant AI(s)").


                105. Oxamyl. Oxamyl is an insectlcide and nematiclde used primarily on cotton and

        potatoes, in addition to onions, apples, citrus fruits, pears, carrots, peppers, tomatoes, and tobacco.


        Oxamyl was initially developed, patented, and registered with the EPA by a Corteva predecessor

        company (DuPont). Corteva's relevant patent protection and the exclusive-use period under FIPRA


        have expired.


                106. Rimsuffuron. Rimsulfuron is an herbicide used on crops such as fruit, tree nuts,


        potatoes, corn, soybeans, peanuts, and tomatoes. Rlmsulfuron was originally developed, patented, and


        registered with the EPA by a Corteva predecessor company (DuPont). Corteva's relevant patent


        protection for rimsulfuron and the exclusive-use period under FIFRA expired no later than 2007.


                107. Acetochlor. Acetochlor is an herbicide that is used predominantly on corn, but also


        is used on cotton, soybeans, sunflowers, peanuts, potatoes, and sugarcane. Sales of crop protection


        products containing acetochlor in the United States exceeded $400 million m 2020.


                108. The EPA gmnted registt'ation for acetochlor m 1994 to the Acetochlor Registration

        Partnership ("ARP ), a joint venture of basic manufacturers. The ARP continues to hold the United



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        States i-egisU-ation for acetochlor; its current partners are Corteva and Bayer. Bayer manufactures


        acetochlor for both parties. Relevant patent protection for acetochlor has expired.


                109. Under its loyalty program, Corteva has made exclusion payments to distributors


        for refraining from marketing significant volumes of competing, lower-priced generic Coitevn


        Relevant AI products. As noted in the Corteva documents discussed above, Corteva Relevant AI(s)


        sales by a distributor that reached exceptional threshold ranges, in some cases as high as 105%, were

        subject to significant incentive rebates worth millions to participating distributors.

                110. During the relevant time period, Cortev^s loyalty program substantially limited and

        foreclosed generic manufacturers from pirovldlng effective competition in the sale of Corteva's


        Relevant AI products. As a result, Corteva has benefitted from supra-competitive prices of Corteva's


        Relevant AI products even though generic manufacturers introduced competing AI products in the


        United States after die expiration of Corteva's Relevant AI(s) patent exclusivity. Generic products of

        these same AIs were priced significantly below Corteva's existing crop protection products.


                111. Under Corteva's loyalty programs, participating distributors sbflctly managed their

        generic AI(s) open space, focused marketitig on Corteva Relevant AI products rather dian generic

        competitors to those same AI products, and in some cases, stopped selling generic products despite


        customers' continued demand for lower-priced Corteva Relevant AI products. The loyalty program


        ensut'es distributors sell minimal, if any, generic Corteva Relevant AI crop protection products in


        exchange for loyalty rebates predicated on abstaining from selling the same AI crop protection

        products made by generic producers.


                112. Cortevas prices remain significantly above competitive levels. Cortevas and


        dlstributots" loyalty programs have resulted in higher prices for crop protection products containing

        each of Corteva^s Relevant AIs that would prevail in a competitive market.


               H. Defendants* Monopoly Power




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                113. The relevant geographic market is die United States. United States farmers may not


        lawfully use crop protection products manufactured and labeled for use outside the United States.


                114. Separate relevant product markets exist for Syngenta's Relevant AIs (azoxystfobin,


        mesotrione, metolaclilor, fomesafen, paraquat, and lambda cyhalothrm) ("the Syngenta AJs Market ),


        BASF's Relevant- AIs (boscalid, glufoslnate, pendlmeth'alin, F500, and imazamox) (the "BASF AIs

        Market"), and for Corteva's Relevant AIs (rlmsutfuron, oxamyl and acetocUor) (the "Corteva AIs


        Market") (collectively the Syngenta AIs Market, BASF AIs Market and the Corteva AIs Market are

        referred to as die "Relevant AI Market(s)").


                115. Each Defendant's Relevant AI Market consists of: (1) the technical grade or

        mtinufacturmg use of each of the Defendant's Relevant AIs to be formulated into an EPA-registered


        finished crop protection product for sale in die United States, and (2) each Defendants Relevant AIs

        as a component of an EPA-registered finished crop protection product for sale in the United States.


                116. As to each Relevant AI, allegations herein relating to the Relevant AI Market(s)

        apply to both sets of product markets described above.


                117. At all relevant times, Syngenta had monopoly power in the markets for

        a^oxystrobin, mesotrlone, metolacUor, fomesafen, paraquat, and lambda cyhalothrin, as well as


        markets for crop protection products containing those specific Relevant AIs, because Syngenta had


        the power to price Relevant AIs and crop protection products containing those Relevant AIs at supra-


        competitive levels without losing subshintial sales to other products prescribed and/or used for the

        same purposes as azoxystrobin, mesotuone, metolachlor, fomesafen, paraquat, and lambda


        cyhalothrin and crop protection products contalmng those Relevant AIs.


                118. At all relevant times, BASF had monopoly power for Boscalid, F500, Glufbsmate

        ammonium, Ima^amox, and Pendlmethalin, as weU- as for crop protection products containing those




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        specific Relevant AIs, because BASF had the power to price Relevant AIs and crop protection

        products containing those Relevant AIs at supra-competitive levels without losing substantial sales to


        other products prescribed and/or used for the same purposes as the BASF Relevant AIs and crop

        protection products containing those Relevant AIs.


                119. At all relevant times, Cotteva had monopoly power for rimsulfuron, oxamyl,


        acetochlor, and crop protection products containing those specific Relevant AIs, because Corteva had


        the power to price Relevant AI tind crop protection products containing those Relevant AI at supra-


        competitive levels without losing substantial sales to other products pi-'escribed and/or used fot the


        same purposes as rimsulfuron, oxamyl, acetoclilor, and crop protection products containmg those


        Relevant AIs.


                120. During the relevant period, the Defendants have dominated their respective

        Relevant AI markets with sales of their own branded Relevant AIs and crop protection products


        containing those Relevant AIs and by excluding generic competition through operation of each loyalty


        program.


                121. To the extent that Plamtiffand Class Members may be t'equired to prove market


        power circumstandally, by first defining a relevant product market, Plaindff alleges that die relevant

        product market is composed of each Defendant Manufacturer's Relevant AIs and crop protection


        products containing those Relevant AIs, both brand and generic, in all forms sold in die United States.

                122. For each Defendant's Relevant AI(s), other AIs are not close enough functional or


        economic substitutes to prevent Defendants from maintaining prices of crop protection products


        containing their specific Relevant AIs above competidve levels.


                123. For each Defendant Manufacturer's Relevant AI(s), absent the t'estraints of trade


        imposed by the Defendants* loyalty programs, unconstrained competition from generic crop


        protection product manufacturers would have had a significant and non-transitory downward effect




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         on prices in that specific Relevant AI(s) Market.

                 124. Direct evidence of each Defendant's monopoly and market power includes each


        Defendant's abillt}7 to price its Relevant AIs and crop protection products containing those Relevant


        AIs above competitive levels, and to exclude competition from generic manufacturers through


         operation of its loyalty program.

                 125. Defendants have maintained and exercised the power to exclude and restrict


         competition to their respective Relevant AIs and crop protection products containing those Relevant


        AIs, which no longer had any patent protection.


                 126. Each Defendant's monopoly power is also shown through circumstandal evidence,


        Including dominant or substantial market shares in its Relevant Market with substantial barriers to


        entry.


                 127. Potential generic manufacturers face significant capital, technical, regubtory, and


        legal bamers. The Defendants' use of loyalty programs also Imposed a substantial barrier to entcy by,


        among other things, limiting generic manufacturers' access to the traditional distribution channel.


                 128. Syngenta maintained dommant shares of die United States Relevant Market for its


        Relevant AIs azoxystrobin, mesotrione, metolaclil-or, fomesafen, paraquat, and lambda cyhalothrin


        from at least 2017 through the present.


                 129. BASF maintained dominant shares of the United States Relevant Market for its

        Relevant AIs boscalid, P500, glufosinate ammonium, imazamoz, and pendimethalm ffom at least 2004


        through the present.


                 130. Corteva maintained dominant shares of the United States Relevant Market for its

        Relevant AJs rimsulfuron, acetochlor, oxamyl. Each year, from at least 2017 through die present,


        Corteva maintained a substantial share of sales in each of these markets.


                 I. Harm to Competition and Consumers




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                131. Each Defendant's loyalty programs and other anticompetitive conduct in conjunction


        with the loyalty programs has harmed competition by substantially foreclosing generic competition in

        the Relevant Markets, thereby lessening competition; raising prices; reducing innovation; lessening

        choice; causing generic competitors to exit or abandon plans to entet the Relevant M^arkets; and/or


        tending to create or maintain monopolies in the Relevant Markets. Defendants' loyalty programs have


        also harmed consumers—i.e., farmers—by causing higher prices, reduced innovation, and reduced


        choice for farmers in the Relevant Markets.


                132. Each Defendant's anticompetitive conduct is not reasonably necessary to achieve any


        cognizable procompeddve benefits. The andcompetltive harm from their conduct outweighs any


        procompedtlve benefits, and each Defendant could reasonably achieve any procompetitive goals


        through less restrictive alternatives.


                133. Each Defendant's unlawful conduct is ongoing. Upon information and belief, each


        Defendant continues to operate its loyalty program, including by enforcing loyalty thresholds and

        making payments to distributors for meeting these thresholds, thereby excluding generic

        competition. Absent injunctive relief ordered by this Court, each Defendant is likely to continue to

        harm competition and the public interest

                J. Foreclosure of Competition


                134. Defendants have harmed competition by foreclosing actual or potential

        competitors from access to distribution services, or by foreclosing actual or potential competitors


        from access to efficient distribution channels.


                135. The most efficient channel of distribution for each Relevant Market is through those

        distributo.fs used by Defendants and controlled through the incentives of the loyalty programs. Each

        Defendants loyalty program has almost entirely foreclosed generic manufacturers from access to the




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         traditional distribution channel. With respect to each Relevant Market, this exclusion of generic

         competitors from the traditional channel has harmed the effectiveness of generic competitors by


         severely limiting their ability to achieve efficient, cost-effective distribution, and in some circumstances

         anj distribution.


                 136. By excluding generic competitors from die traditional distribution channel, each

         Defendant's loyalt}7 program has foreclosed a substantial share of each applicable Relevant Market to

         generic competition. This is because a high percentage of all pesticide sales are made dirough the

         traditional channel (over 90%) and a high proportion of the traditional channel participants in

         Defendants' loyalty programs. Thus, each Defendant's loyalty program has effectively foreclosed


         generic competitors from competing for a large portion of each applicable Relevant Market.

                 137. The market foreclosure created by Defendants' loyalty programs has been of

         substandal duration. Generic manufacturers of pesticides containmg the applicable Relevant AIs have


         been substantially foreclosed from the Relevant Markets for five years or more, including since at least


         2017.


                 138. Defendants' loyalty programs have further foreclosed competition by offering and

        providing payments to distributors even when disU'ibutors do not agree or otherwise commit, in


         advance, to meet the relevant targets that the Defendants include in their loyalty programs. The


         prospect of receiving a payment from Defendants—as well ns profits from the higher prices caused by


         the market-wlde exclusion ofgenerics—has effectively induced distributors to limit or forgo purchases


         from lower-priced competitors that offer or would offer generic pesticides containing the Relevant AIs.


                 139. Distributors adhere to Defendants' loyalt5?-pfogmm thresholds in significant part


        due to die prospect of receiving substantial payments under the programs. In addition, structural


        features of each Defendant s loyalty program promote adherence, nnd are strictly enforced.


                 140. Distributors' incentive to comply with loya^-program tlvesholds is further



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        enhanced by the fact that substantially all majot distributors participate in die programs. Distributors

        profit more when prices to retailers and farmers are higher, therefore the distributots' collective


        pamcipation in the loyalty programs results in sustained inflated prices to farmers.


                141. Disfcfibutoirs are further incentivized to comply with the ioyalt}? programs by their

        knowledge that all of their dlstributor-competitors are parddpating, and no one is going to break ranks

        and lower the prices and profits that they all enjoy under the scheme or compete for market share.

                142. TogetherwithDefei-idants'strict enforcement efforts, these features of Defendants


        loyalty programs incentivize distributors to meet applicable loyalt)7 tihresholds by forgoing or severely

        limiting purchases from generic manufacturers.


                143. Upon information and belief, Defendants also discourage distributors from passing

        on payments made pursuant to loyalty programs to farmers. This has the effect of maintaining


        ardflcially high prices for pesticides manufactured by Defendants m die Relevant Markets.

                144. The terms of loyalty programs are confidential and are not accessible by farmers or


        manufacturers of generic pesticides. The complexity, lack of transparency to farmers and generic


        manufacturers harmed by the conduct, and deferred payment timing of loyalty programs causes


        distributors to fetam loyalty program payments as profit and makes them less likely to pass on loyalty

        program payments to farmers in the form of lower prices.


                145. As a result of Defendants' respective loyalty programs, distributors have severely


        limited their purchase, promotion, and sale of generic pesticides containing each RelevantAL To meet


        applicable loyalty thresholds, distributors have omitted generic products from their product lists,

        refused customer requests for generics, declined generic companies' offers to sell pesticides, and


        steered retailers and farmers toward branded products.


                146. As a result of Defendants' respective loyalty programs, distributors have declined

        to buy more than minimal amounts of pesticides containing each applicable Relevant AI from generic



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        manufacturers, despite sufficient demand, availability, and quality of generic products.


                 147. With respect to each Relevant AI, in the absence of the applicable loyalty program,

        generic manufacturers would make significantly more sales to distributors, which would enable diem


        to realize distribution efficiencies and scale benefits. These benefits would increase price competition,


        innovation, and choice in Relevant Markets, which in turn would benefit American farmers.


                 148. In the absence of Defendants' respective loyalty programs, sales of generic


        pesticides containing Relevant AIs would be significantly higher and would exceed the limits dictated

        by die loyalty programs, American farmers would benefit from having ^n increased amount of lowef-


        price generic products available in Relevant Markets.

                 149. In contrast to the Relevant AIs, when seUing products containing active ingredients


        that are not subject to the loyalty programs, generic manufacturers are able to make all or nearly all of


        their sales through traditional distribution channels.


                 150. In die applicable Relevant Markets, Syngenta has added an additional layer of

         foreclosure to that created by its distributor loyalt)r program through its retail loyalty program. As with

        the distributor program, the retail program has substantially foreclosed generic manufacturers from


        efficient distribution of their products, given the participation of leading t'etailers in the program.

                 151. Each Defendant's so-called "loyalty program" has prevented, delayed, and


        diminished entry and expansion by generic manufacturers of pesticides containing applicable Relevant

        AIs, and caused generic pesticide manufacturers to exit die mfirket for products containing Relevant


        AIs, even when generic manufacturers can otherwise satisfy regulatory conditions and overcome other


        barriers to entry.


                 152. Multiple generic manufacturers have concluded that entiy Into the market is not


        economically feasible due to the artificial constraints created by Defendants' respective loyalty

        programs.




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                153. In some cases. Defendants* loyalty programs have caused foreclosure of sales


        opportunities that have led a generic manufacturer already competing in a Relevant Market not to re"


        registet its product, or to stop offering a product containing the Relevant AI.


                154. In the absence of Defendants' respective loyalty programs, generic manufacturers


        would compete more effectively and compete for more sales In each Relevant Market.


                155. Each Defendant's so-called "loyalty program" has reduced die ability and incentive

        of generic manufacturers to bring new differentiated pesticides containing applicable Relevant AIs to

        market, harming innovation, and t'estucting farmer choice.


                156. Generic manufactuters often create new active-ingredient mixtures or other new


        offerings that meet farmer needs. Generic manufacturers also often innovate on the non-active-


        ingredient components of pesticides in ways that are beneficial to farmers.


                157. Because of the barriers to entry created by Defendants' respective loyalty programs,


        generic manufacturers have in several instances abandoned attempts to develop innovative products


        containing applicable Relevant AIs. For the same reason, when determining whether to bring to


        market an innovative product, such as a new rmxture, generic manufactuters have sought to avoid


        using active ingredients that are subject to any of Defendants' loyalty program.

                158. In the absence of Defendants' respective loyalty programs, there would be more


        innovative products from generic manufacturers in die applicable Relevant Markets, leading to more


        farmer choice.


                159. Each Defendant's so-called "loyalty program" has resulted in higher prices to


        farmers for pesticides containing Relevant AIs than would prevail in competitive markets. Each


        Defendant's anticompetitive conduct has thwarted the downward price pressure from generic


        manufacturers' entry and expansion, denying these geneucs access to efficient and effective


        distribution and tesulting in arrificially high prices in markets for pesticides containing Relevant AIs.



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                160. Generic pesticides are genemUy priced lower than branded equivalents, and as to


        each Relevant AI, farmers pay more for pesticides containing the active ingredient because the

        applicable loyalty program artificially limits die availability of lower-priced generic nltematives. In

        many cases, farmers buy die more expensive, branded product because that is what is available and/or


        what is promoted by die traditional distribution channel, and not because that is what they prefer.

        Defendants' loyalty programs thus result in unmet and um'eaUzed demand for lower-puced equivalent


        generic products.


                161. When generic manufacturers can access due market for an active ingredient, they put


        downward pressure on the prices of branded products containing that active ingredient, and they exert


        more pressure the more access they achieve. This downward pressure affects not only lower-end


        brands for which generics have exact substitutes upon entry, but all products containing the active


        ingredient, including higher end mixture products. Defendants' loyalty programs, however, inhibit


        generic manufacturers abllit)^ to access relevant markets and thus limit downward pricing pressure


        from generic competition.


                162. Even where generic manufacturers enter and sell at low prices to distributors,


        Defendants' loyalty programs result in higher prices to farmers by limiting the amount of available

        generic product. Tins, In turn, enables distributors or retailers to price generic products just under


        branded products and to maintain branded prices, thus preventing the full benefits of generic price

        competition from flowing to farmers.


                163. In countries where pesticide loyalty programs do not exist, generic manufacturers


        have been able to compete more effectively, and farmers pay correspondingly lower prices.


                164. Even where generic manufacturers, over time, have been ?ible to enter a given


        Relevant Market and have provided some measure of price compedtion, Defendants' loyalty programs


        have limited the effects of tills competition. Defendants^ respective price responses, and responses of




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        prices more generally in the applicable Relevant Market, have been less significant, and slower, than


        they otherwise would have been, absent operation of the applicable loyalty program.

                                     V. CLASS ACTION ALLEGATIONS

                165. Plaintiff brings this action on behalf of itself and as a class action under the

        provisions of Rules 23(a) and (b) of the Federal Rules of Civil Procedure, on behalf of members of

        the following Plaintiff Class:

                        AU persons or entities who, since January 1, 2004, and continuing until the effects of
                        the unlawful conduct cease (the "Class Period"), purchased pesticides in the United
                        States containing the active ingredients azoxysa'obin, mesotiione, metolaclilor,
                        fbmesafen, paraquat, lambda cyhalothrin dlrecdy from Syngenta or any distubutor or
                        retailer participating in Syngenta's Loyalty Program; rimsulfuron, oxamyl, or
                        acetochlor directly from Corteva or any distributor or retailer participating in Corteva's
                        Loyalty Program; boscalid, F500, glufoslnate ammomum, ima^amox, or pendimethalin
                        directly from BASF or any distributor or retailer participating in BASF's Loyalty
                        Program.


                166. Excluded from the Class are Defendants and their officers, directors, management,


        employees, parents, subsidiaries, affiliates, and co-conspirators (i.e., distributors or retailers


        participating in Defendants loyalty programs involving die Relevant AI products); and any persons

        or entities that purchased pesticides solely for resale to others. Also excluded are any federal, state, or


        local governmental entities and their departments, agencies, divisions, bureaus, boards, sections,


        groups, counsels and/or subdivisions, any Judicial officers presiding over this action and their law

        clerks and spouses; any persons within three degrees of relationship to those living in the judicial

        officers' household; and the spouses of all such persons.


                167. Members of the Class are so numerous and geographically dispersed that Joinder is

        impracticable. Further, members of the Class are readily identifiable from mfbmiatlon and records in

        Defendants possession.


                168. Plaintiffs claims are typical of the claims of the members of the Class. Plaintiff and

        members of the Class were damaged by the same wrongful conduct of Defendants.




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                  169. Plaintiff will fairly and adequately protect and represent the interests of members

         of the Class. Plaintiff s interests are coincident with, and not antagonistic to, those of members of the


         Class.


                  170. Plaintiff is represented by counsel with experience m die prosecution and leadership

         ofantitmst class actions and other complex litigation.


                  171. Questions of law and fact common to the members of the Class predominate over


         questions th?it may affect only individual Class members, thereby making damages with respect to

         members of the Class as a whole appropriate. Questions of law and fact common to members of the


         Class include, but are not limited to:


                  a. Whether Defendants conspired to unreasonably restrain trade in violation of federal
                         antitrust laws;


                  b. Whether Defendants unlawfully monopolized or conspu'ed to monopolize the relevant
                         markets;


                  c. Whether Defendants violated Sections 1 and/or 2 of the Sherman Act;


                  d. Whether Defendants violated Section 3 of the Clayton Act;

                  e. The scope ^nd duration of the alleged conspiracy;


                  f. Injury suffered by Plaintiff and members of the Class;

                  g. Damages suffered by Plaintiff and members of the Class; and

                  h. Whether Defendants have acted or refused to act on grounds generally applicable to
                         members of due Class, thereby making appropriate final mjm-ictive relief or
                         corresponding declaratory relief with respect to members of the Class as a whole.


                  172. Class action treatment is a superior method for the faic and efficient adjudication of

        the controvefsy. Such treatment wiU permit a large number of similarly situated persons to prosecute


        their common claims in a single forum simultaneously, efficiendy, and without die unnecessary


        duplication of evidence, effort, or expense that numerous individual actions would require.


                  173. The benefits of proceeding through the class mechanism, including providing



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        injuted persons or entities a method for obtaining redress on claims that could not practicably be

        pursued indlviduaUy, substantially outweigh potential difficulties in nianagement ofdiis class actlo-n.

                174. Plaintiff knows of no special difficulty to be encountered in the maintenance of this

        action that would preclude its maintenance as a class action.


                175. Plaintiff has defined members of the Class based on currently available information

        and hereby reserves the right to amend the definition of members of the Class, including, without

        limitation, the Class Period.

                 VI. EQUITABLE TOLLING AND FRAUDULENT CONCEALMENT

                176. By equitable estoppel, due Defendants' conceahrtent of their unlawful combination


        and conspiracy has toUed any applicable statute of limitations for Plaintiff and the Class \v'ith respect

        to any claims and rights of action that Plaintiff and the Class have alleged in this Complaint.


                177. Plaintiff and the Class were not placed on actual or constructive notice of the

        conspiracies alleged herein until, at the earliest, the FTC's and AGs' September 29, 2022 complaint

        made public its investigation into the Defendants' misconduct and its allegations that Defendants'


        loyalty program agreements with the distributors testt'amed competition and caused higher prices,

        among othet harms.


                178. Throughout the Class Period, the Defendants effectively, a ffinna lively, and

        fraudulently concealed their unlawful combination and conspiracy from Plaintiff and the Class.

                179. The Defendants maintain and enforce strict confidentiality provisions in their

        agreements with one another and the conditions and descriptions of their respective loyalty programs.


        Distributors' contracts also contain strict confidendaUty provisions, ptohiblting the disclosutes of

        prices t'etaHers pay to wholesalers for the Relevant AI products.


                180. Defendants all publicly stated that they were in compliance with federal laws that

        governed their conduct, including federal antitrust laws. Plaintiff and Members of the Class could and



                                                           43
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         did rely on such statements and thus were misled into believing that no anticompetitive activity was


        occurring.


                 181. For example, Syngenta's current Code of Conduct ("CoC") states at page 6 that


          [ajs an industcy leader, we take ouf responsibilities very seriously. We are transparent and responsible


        and comply with all applicable laws tind ensure that employees are aware of those laws relevant to


        those toles." At page 8 of the same document, it states that "[wje ensure that all business practices


         comply with the competition law wherever business is conducted. Competition laws apply to business


        conduct in general and to all business arrangements, irrespective of whether they are written, oral, or


        in any other form."


                 182. Corteva's CoC states at page 12 that "[w]e conduct business ethically. Eveiy time


        we represent Corteva Agriscience, it is our chance to make a positive impression. We speak with pride,


        honest}^, and transparency about our work to promote tcust, confidence, and sustainable business."


        At page 14 of the same document, Corteva states that it does not "Interfere with our competitors'


        business relationships", or "[u]se our market strength or market mfonmdon to unfairly harm or


        unlawfully prevent competition."


                 183. BASF's current CoC at page 14 touts "our integrity as a company—that means


        living up to die spirit and the letters of the laws that govern our industry. ..." At page 26 of the same


        document, BASF adds

                                  [w]e are committed to conducting our business solely
                                 on the basis of free and fair competition^ and we strictly
                                 obey aU applicable laws and regulations. We believe
                                 that fair, well- regulated competition strengthens our
                                 market and benefits our customers. As a market leader



          Available at https://www,syngentagroup.conVsites/syngenta"group/files/govemance/code-of- couduct/syn-240-s^
        coc"english-aw5.pdf(last accessed Feb. 15,2023).
        12 Available at bttps://www.corteva.coni/content/danVdpagco/corteva/global/corporate/files/code-of-
        conduct/Corteva_Code_Interactive_enEN__English.pdf(last accessed Feb. 15, 2023).
        13 Available at https://www.basf.coni/global/docmnents/en/news-aDd-
        media/publications/reports/2020/BASF_Code_of_Conduct_2020_EN.pdf(last accessed Feb. 15,2023).



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                                in various fields, BASF has special obligations under
                                antitmst law for conducting our business In a way that
                                promises fair competition. We welcome this extra
                                responsibility, and aim to lead by extimple^ to achieve
                                the best for our customers. We are aware that any
                                violation of antitrust laws can result in heavy fines, and
                                even imprisonment, for die company, management
                                and individuals concerned. It Is up to all of us to be
                                alert for any situation that could potentially be seen as
                                harmful to free and fair competition.

                  184. These promises in Defendants' respective CoCs are beUed by their respective

        conduct set forth in this complaint. Their ultimate customers—like the Plaintiff here—relied on their


        self-professed integrity and law-abiding goals and were misled as a result.


                  185. Accordingly, prior to die filing of the ETC Action, Plaintiff and the Members of


        the Class have had virtually no visibility into Defendants' loyalty programs, other than those

        unredacted portions of the FTC's recent complaint, let alone visibility of the conspiracy to use the

        loyalty programs to restoun trade and maintain supra-compedtive pesticide prices.


                                          VII. CLAIMS FOR RELIEF

                           COUNT I: UNLAWFUL CONDFTIONING OF PAYMENTS
                           in Violation of Section 3 of the Clayton Act (15 U.S.C. § 14)


                  186. Plaindff incorporates by reference each preceding paragraph as though fully set

        forth herein.

                  187. Defendants provided payments in the form of rebates in the sale ofat-issue crop


        protection products to distributors in exchange for distributors' agreements not to use or deal in the


        goods of generic competitors in accordance with Defendants' loyalty programs. Tills conduct


        substantially lessened competition and created monopolies in die at-Issue products in the Relevant


        Markets, in violation of Section 3 of die Clayton Act (15 U.S.C. § 14).




        M Id, at 26.



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                188. As a result, generic competition in the Relevant AI Markets was substantially


        restrained and the Defendants unlawfully maintained monopolies in the at-issue products, which


        caused the prices of the at-issue products purchased by Plaintiff and Class Members to be higher than

        they would have been in die absence of die Defendants' agreements with distributors.


                189. Plaintiff and Class Members were injured and damaged because they purchased at-

        issue products at supra -competitive prices caused by Defendants^ violations of Section 3 of the


        Clayton Act.


                               COUNT II: UNLAWFUL MONOPOLI2ATION
                  Monopolization in Violation of Section 2 of the Shennan Act (15 U.S.C. § 2)


                190. Plaintiff incorporates by reference each preceding paragraph as though fully set

        forth herein.


                191. At nU times relevant to assessing its conduct, Syngenta has had monopoly power in


        Relevant Markets for azoxystrobln, metolacHor, mesotrione, s-metolaclilof, fomesafen, par?iquat, and


        lambda cyhalothrm. At all dmes relevant to assessing its conduct, Corteva has had monopoly power in


        Relevant Markets for rimsulfuron, acetochlor, and oxamyl. At all relevant times, BASP has had


        monopoly power in die Relevant Markets for boscalld, F500, glufbsimte ammonium, imazamox, and


        pendlmethaUn.


                192. Each Defendant has maintained its monopoly power through a course of


        anticompetitive and exclusionary conduct by entering and maintaining agreements with distributors


        that contain competition-limiting loyalty requirements and, among other things, enforcing and


        threatening enforcement of these requirements or the imposition of other pennldes for insufficient


        loyalty in violation of Section 2 of the Shemian Act (15 US.C § 2).


                193. Plaintiff and members of die Class were injured by Defendants mamtammg their

        monopolization of the Relevant Markets for die at-issue products, which allowed Defendants to price




                                                         46
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        the at-issue products at artificially high levels that bar or limit competitive entry. Plaintiff and the Class

        Members paid higher prices for the at-issue products than they otherwise would have absent

        Defendants violations of Section 2 of the ShermanAct.

                 194. Plaintiff and Class Members have no adequate remedy at law to prevent


        Defendants' ongoing and future anticompetitive conduct and therefore seek an injunction to prevent


        them from continuing with such conduct.


                                 COUNT III: CONSPIRACY TO MONOPOLIZE
                                                       (15U.S.C.§2)

                 195. Plaintiff incorporates by reference each preceding pamgraph as though fully set

        forth herein.


                 196. Defendants individually conspired with distributors to unlawfully maintain

        Defendants' monopolies in the at-lssue products through anticompetitive exclusionary agreements.


        The co-consplring distributors intentionally facilitated Defendants' efforts to illegally maintain their

        monopoly power in the Relevant Markets for the at-issue products by participating in Defendants

        loyalty programs, which were designed to ?ind did artificialiy restrict generic competition, as described

        above.


                 197. The intent and goal of Defendants and their distributors was to maintain the

        Defendants' monopolies in the at-issue products so that Defendants and die distributors could


        eliminate or limit the threat from generic competition and continue to charge supra-competitive prices


        for the at-issue products.


                 198. Plaintiff and Class Members were injured by Defendants' agreements with

        distributot's that uni-'easonably restramed trade and raised, fixed, maintained, or stabilized prices of the


        at-issue products tit artificially high levels. Plaintiff and Cl?iss Members paid higher prices for the at-

        issue products than they otherwise would have absent Defendants' violation of Section 2 of the




                                                             47
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        Sherman Act.


                199. Plaintiff and Class Members have no adequate remedy at law to prevent


        Defendants' ongoing and future anticompetitive conduct and therefore seek an injunction to ptevent


        them from continuing with such conduct.


                              COUNT IV: UNREASONABLE RESTRAINTS OP TRADE

                                in Violation of Section 1 of the Sherman Act (15 U.S.C. § 1)


                200. Plaintiff incorporates by reference each preceding paragraph as though fully set

        forth herein.


                201. Defendants entered into unlawful contracts, combinations or conspiracies with


        distributors in unreasonable restraint of trade in violation of Section 1 of the Sherman Act (15 U.S.C.


        §1).

                202. These agreements had the purpose and the effect of restricting sales of generic


        versions of the at-issue products in order to preserve Defendants' monopolies in die at-issue products


        and to artificially raise, fix, mamtiun, or srabilrze the prices of the ;it-lssue products. Distributors agreed


        with Defendants to essentmlly boycott generic versions of the at-issue products.


                203. These practices were unreasonable restraints of trade m vloktion of Section 1 of


        the Sherman Act. Even if these violations are contended not to constitute per se offenses, they are


        unlawful under either a "quick look" or rule of reason analysis.


                204. Plaint-iff and Class Members were injured by Defendants agreements with


        distributors that unreasonably restrained trade and raised, fixed, maintained, or stabilized prices of the


        tU-issue products at artificially high levels. Plaintiff nnd Class Members paid higher prices for the at"

        issue products than they otherwise would have in the absence of Defendants' violations of Section 1


        of the Sherman Act,


                205. Plaintiff and Class Members have no adequate remedy at law to prevent




                                                              48
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        Defendants' ongoing and future anticompetitive conduct and therefore seek an injunction to prevent


         them from continuing with such conduct.


                                          L PRAYER FOR RELIEF

                Plaintiff, on behalf of itself and the proposed Class, respectfully request judgment against

        Defendants as foUows:


                A. That the Court certify this lawsuit as a class action under Rules 23(a) and (b)(3) of the

                Federal Rules of Civil Procedure, that Plaintiff be designated as class representative, that

                Plaintiffs counsel of record be appointed as Class counsel, and that the Court direct that notice

                of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be given

                to the Class, once certified;


                B. That the Court adjudge and decree that Defendants each have violated Sections 1 and


                2 of the Sherman Act;


                C. That the Court adjudge and decree that Defendants each have violated Secdon 3 of

                the Clayton Act;

                D. That Plaintiff and aU others similarly situated by granted injunctive relief with respect

                to Defendants' ongoing anticompetitive conduct;


                E. That Plaintiff and all other similarly situated be awarded damages suffered by reason

                of these violations and tlnat those damages be trebled in accordance with the law;

                F. That due Court award Plaintiff and the Class their costs of suit, including reasonable

                attorneys' fees and expenses, including expert fees, as provided by law; and


                G. That the Court direct such other and further relief as the case may require and the


                Court may deem just and proper.


                                        VIII. DEMAND FOR TIJRY TRIAL

                Plaintiff hereby demands a trial by Jury on all claims so trlable.



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         Dated: February 23, 2023        Respectfully submitted,



                                         /s/ Wamn T. B///-//J'

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                                         Counsel for Phn nfiff a nd the Proposed Class




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                                          U.S. District Court
                             Western District of Louisiana (Lafayette)
                          CIVIL DOCKET FOR CASE #: 6:23-cv-00267


Teche Farm Supplies v. Syngenta Corporation et al Date Filed: 02/28/2023
Assigned to: Jury Demand: Plaintiff
Cause: 15:2 Antitmst Litigation Nature of Suit: 410Anti-Trust
                                           Jurisdiction: Federal Question

Plaintiff
Teche Farm Supplies represented by Warren T Burns
                                                                Burns Charest (DAL)
                                                                900 Jackson St Ste 500
                                                                Dallas, TX 75202
                                                                469-904-4550
                                                                Email: wbums@burnscharest.com
                                                                ATTORNEY TO BE NOTICED


V.

Defendant

Syngenta Corporation

Defendant

Syngenta Crop Protection, LLC

Defendant

Syngenta Crop Protection AG

Defendant

Corteva, Inc.

Defendant
BASF SE

Defendant

BASF Corp.

Defendant

BASF Agricultural Products Group



Date Filed      #   Docket Text

02/28/2023      i   COMPLAFNT against All Defendants with Jury Demand (Filing fee $402, receipt number
                    ALAWDC-5475762) filed by Teche Farm Supplies. (Attachments: # i Civil Cover Sheet)
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            (Attorney Warren T Burns added to party Teche Farm SuppUes(pty:pla))(aty,Burns, Warren)
            (Entered: 02/28/2023)
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                                        UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF LOUISIANA

          TECHE FARM SUPPLIES
                                                                        Case No.

                          Plwnfiff,
          V.

                                                                        CLASS ACTION
          SYNGENTA CORPORATION, SYNGENTA
          CROP PROTECTION, LLC, SYNGENTA CROP
          PROTECTION AG, CORTEVA, INC., BASP SE,
          BASF CORP., and BASF AGRICULTURAL                             JURY DEMANDED
          PRODUCTS GROUP

                          Defendants.



                                           CLASS ACTION COMPLAINT

                 Plaintiff Teche Farm Supplies ("Plaintiff'), by its undersigned counsel, on its own behalf and

         on behalf of all others similarly situated (the "Class," as defined below), brings this action against

         Defendants Syngenta Crop Protection AG, Syngenta Corporation, and Syngenta Crop Protection,


         LLC (collectively, "Syngenta"); BASF SB, BASF Corporation, and BASF Agricultural Products

         Group (collectively, "BASF"); and Corteva, Inc. ("Corteva"; collectively with Syngenta and BASF,


         the "Defendants ) and alleges as follows:

                                         I. NATURE OF THE ACTION

                 1. Farmers have been grappling with skyrocketing operating expenses for the last

         several years. In a 2018 survey, 80% of farmers reported their costs were increasing and they were


         unable to pay their debts—estimated to exceed ^400 bllUon in 2019.

                 2. A large portion of a farmer's operating expense is related to the purchase of crop


         protection products, which include agricultural pesticides. There are three main categories of


         pesticides: herbicides, insecticides, and fungicides. These products are used by farmers and growers to


         target unwanted plants or weeds, insects, and fungal diseases, respectively.
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                 3. Defendants, through the use of "loyalty" or "rebate" programs with cooperating


         distributors, unfairly impede competitors and artificially Inflate the prices that farmers pay for

         pesticides. These programs substantially hindered access by farmers to lower-cost generic alternatives.


                 4. Similar to the regulatory framework governing the pharmaceutical industf)7, the


         pesticide industry is subject to patent and safety regulations that confer certain exclusivity benefits on


         developers of new active ingredients that are approved by the United States Environmental Protection


         Agency ("EPA"). Under Congress s patent and regulatory scheme, Defendants are "basic"


         manufacturers that initially develop, patent, and register the active ingredients that make pesticides


         effective. Once approved, these basic manufacturers possess certain exclusive rights for a period of


         years. Once the excluslvit}7 period expires, generic manufacturers may enter the market with


         equivalent products that contain the same active ingredients and rely on die s^me toxlcology and


         environmental impact data first developed by those basic manufacturers. Competition from generic


         products leads to significant price reductions.


                 5. On September 29, 2022, following an investigation, the FTC filed a complaint

         against Defendants alleging that Defendants' loyalty programs foreclose generic competition and


         result in higher prices for farmers in violation of federal antitrust law.


                 6. As revealed by the FTC's investigation, Defendants' loyalty programs provide that-


         Defendants will make payments to participating distributors in the form of "rebates," based on their


         purchases of Defendant-branded pesticides, but wider one condition: distributors must limit their


         purchases of generic pesticides to a set percentage. Indeed, Defendants ensure that distributors profit


         more from accepting Defendants' "rebate" payments than they would from distributing a higher


        volume of lower-priced, generic pesticides.




         ' Complaint, FTC et al. u. Syngenta Ovp PmtecfionAG efa/., l:22-cv-00828 (MD.N.C. Sept. 29, 2022), ECF No.
         1.
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                7. Distributors dominate the sale of crop protection products In the United States.


        Thus, die scheme among the respective Defendants has substantially foreclosed generic competitors


        from efficient distribution of their products. Even when distributors offer competing generics, theii4


        agreements with Defendants restrict the sale of these generics to minimal volumes, forcing the generic


        manufacturers to market their products through less efficient channels of distribution. While


        Defendants benefit, farmers are left to pay supra-competitive prices for pesticides and are deprived of


        access to cheaper generic alternatives.


                8. As a result of Defendtints* and the distributors' conduct, Defendants have


        restrained competition, maintained unlawful monopolies, and harmed Americans farmers, reducing


        choices for these farmers and costing them millions of dollars m overcharges.


                9. Plaintiff seeks to recover damages m die form of overcharges that it and the Class


        defined herein incurred due to Defendants' violations of the antitrust laws m the markets for certain


        pesticides. Defendants engaged in conspiracies with distributors to illegally extend and maintain their

        respective monopolies with respect to certain crop protection products by entering into loyalty

        programs to delay generic competition, m violation of Sections 1 and 2 of die Sherman Act (15 U.S.C.


        §§1,2) and Section 3 of the ClaytonAct(15U.S.C. § 14). For dnese claims, Plaintiff and Class members

        herein seek treble damages and injuncdve relief under 15 U.S.C. §§ 15 and 26, and othef just relief.

                                                  II. PARTIES

               A. Plaintiff

               10. Plaintiff Teche Farms is a farming co-operative made up of 96 sugarcme and


        soybeans farmers and is headquartered at 2100 Canal Street,Jeanerette, Louisiana 70544.


               B. Defendants


                11. Defendant Syngenta Corpofation is a corporation organized and operating under the


        laws of the State of Delaware with a principal place of business at 3411 SUvei'side Road, #100,
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        Wihnington, Delaware 19810. Syngenta Corporation may be seived dirough its registered agent. The


        Corporation Trust Company, at Corpor?idon Trust Center, 1209 Orange Street, Wilmington, DE


        19801. Syngenta Corporation transacts or has transacted business in tills Judicial District either directly


        or through its agents.


                  12. Defendant Syngenta Crop Protection, LLC, is a limited liability company orgamzed


        and operating under the laws of the State of Delaware, with its principal place of business at 410 South


        Swing Road, Greensboro, Nortli Carolina 27409. Syngenta Crop Protection, LLC may be served


        through its registered agent, C T Corporation System, at 208 South LaSalle Street, Suite 814, Chicago,


        Illinois 60604. Syngenta Crop Protection, LLC transacts or has transacted business in this Judicial


        District either directly or through its agents.


                  13. Defendant Syngenta Crop Protection AG is headquartered in Basel, Switzerland


        and is organized and existing under the laws of Switzerland, Since in- orftboutMay2021, Syngenfa Crop


        Protection AG has been an indirect subsidiary of Sinochem Holdings Corporation Ltd., a chemical


        company based in Beijing, China. Syngenta Crop Protection AG's North American headquarters is


        located within in its 70-acre campus in Greensboro, North Carolina. Syngenta Crop Protection AG


        transacts or has transacted business in this Judicial District either directly or through its agents.


                  14. Corteva, Inc. is a publicly held corporation headquartered at 9330 ZionsvlUe Road,


        Indianapolis, Indiana 46268. Corteva is the successor company to the agrisdence businesses ofE.I.


        du Font de Nemours ("DuPont ) and Do\v Chemical Company ( Dow ). Corteva is a corporation


        organized and existing under the laws of the State of Delaware. Substantially all of Corteva s revenue


        is derived from sales of seeds and crop protection products to farmers, distributors, and


        manufacturers. Indeed, Corteva sold $4.382 billion m crop protection products in just the first half of


        2022. Corteva transacts or has transacted business In this Judicial District either directly or through its


        agents.
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                 15. Defendant BASP SE is a multinational global chemical company headquartered in

        Ludwigshafen, Germany. It is the largest chemical producer in the world. BASF SE transacts ot has


        transacted business in this Judicial District either ditectly or through its agents.

                 16. Defendant BASP Corp. is headquartered at 100 Park Avenue, Florham Park, New


        Jersey 07932 and is the North American affiliate of BASF SE. BASP Corp. transacts 01: has transacted

        business in this Judicial District either direcdy or through its agents.

                 17. BASP Agricultural Products Group is a division ofBASF SE and is headquartered

        at 14385 West Port Arthur Road, Beaumont, Texas 77705. BASF Agricultural Products Group

        transacts or has transacted business in this Judicial District either direcdy or through Its agents.


                                       III. TURISDICTION AND VENUE

                 18. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§


        1331 and 1337(a) and 15 U.S.C. § 26.

                 19. Venue is proper in this District pursuant to 15 U.S.C. § 22 and 28 U.S.C. § 1391 (b)

        and (c) because Defendants transacted business throughout the United States, including in this Judicial

        District, during the Class Period.

                 20. This Court also has personal jurisdiction over Defendants because during the Class

        Period, Defendants sold and shipped certain crop protection products In a continuous and


        uninterrupted flow of interstate commerce, which Included sales of certain crop protection products


        in the United States, including m this Judicial District. Defendants' conduct had direct, substantial,

        and reasonably foreseeable effects on interstate commerce in the United States, including In this


        Judicial District.

                                         IV. FACTUAL AT.LEGATIONS

                A. The Pesticide Industry

                21. Most pesticides sold in the United States are sold to farmers and growers for use
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        as crop protection. Pesticides protect crops by killing or controlling pests—i.e.^ diseases, weed, insects,


        and other organisms—and thus are known as "crop protection products." As used herein, and


        consistent with industry practice, the term "pesticides" refers collectively to msecticides (mcluding


        nemanticides), herbicides, and fungicldes.


                22. All pesticides contain at least one "active ingredient" or "AL" The active ingredient


        is the chemical substance that kiUs or controls the targeted plant, animal, or fungal pest. Active


        mgredients may be sold in two forms: (1) as standalone active ingredients, which can be rmxed with


        inactive ingredients such as water, 'adJuvants, surfactants, or in some cases other active ingredients, prior


        to application; or (2) as part ofpre-mixed pesticide formulations that are ready to be applied to crops.


                23. Several criteria serve to distinguish one active Ingredient from another, including


        the pest(s) they target, their effectiveness, the crops for which they are suited, the stage of the growing


        cycle 'At which they c^in be used, and their performance under prevailing climate and weather


        conditions. Moreover, each active ingredient has what is referred to as a "mode of action," which is


        the chemical and biological sequence of events that causes a pesticide to kill or control the targeted


        pest. While active Ingredients that slwe a common mode of action tend to have similar uses, there


        are. often differences in performance and other reasons why one active ingredient cannot readily


        replace another for a given application or a given condition, and why farmers may prefer one active


        ingredient over another. As a result, a chemicaUy equivalent generic pesticide is a closer substitute for


        a given branded product than is a product containing a different active ingredient. Accordingly, active


        mgredients do not readily replace each other In a given application or condition.


                24. Defendants formulate, market, and sell agricultural pesticides. They themselves


        may synthesize the active ingredients for their own fully formulated pesticide products, or they may


        purchase die active ingredients in their pesticide formulations from other manufacturers.


                25. "Basic" manufacturers are those that research, develop, and patent new active
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        mgtedients. Defendants are basic manufacturers and among the largest manufacturers of pesticides m


        the United States and globally.

                26. Generic manufacturers primarily sell pesticides containing active Ingredients


        initially developed by basic manufacturers. To do so, they must wait fof regulatory and patent


        exclusivity periods on the active ingredients to expire. More than a do^en generic manufacturers sell


        pesticides in die United States.


                27. In general, pesticide manufacturers seU to distributors that sell to, and in many cases


        are Integrated with, retail outlets across the United States. This is referred to as die "traditional


        distribution channel."


                28. Selling through distributors is the most efficient way for a pesticide manufacturer

        to reach farmers for a variety of reasons. Distributors offer services such as warehousing,


        transportation, credit and marketing, among others. They provide access to a network of customers,


        including farmer and retail customers dispersed throughout the country. And they provide scale and


        services that would require substantial investments if a manufacturer attempted to replicate the same


        services on its own. Even then, manufacturers lack the pre-exisdng relationships that retailers maintain


        with farmers in their local region. Accotdingly, a manufacturer cannot effectively compete without


        access to the traditional distribution channel


                29. By selling to a relatively small number of distributors, die manufacturer can reach


        thousands of retailers, who can in turn reach hundreds of thousands of farmers with greater efficiency.


                30. In fact, upon information and belief, sales through this traditional distribution

        channel account for approximately 90% or more of all sales ofpesricides m the United States. Just seven


        distributors—including Wmfield Solutions, LLC, Univar Solutions, Inc., Nuti'ien AG Solutions, and


        Helena Agri-Enterprises—account for more than 90% of sales du'ough die u'aditional channel, and


        therefore account for approximately 80% or more of all sales of pesticides to farmers in the United



                                                          7
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         States.


                   B. Regulatory Framework


                   31. Congresses patent and regulatory framework governing pesticides seeks to


         encourage innovation for the developers of new active ingredients, while simultaneously facilitating


         generic entry into the market and price competition after patents expire and exclusivity periods end.


                   32. A basic manufacturer of a new active ingredient can apply for U.S. patent protection


         for a term beginning when the patent issues and expiring twenty years after the Initial patent


         application.


                   33, The btisic manufacturer may also obtain certain exclusive rights under the Federal


         Insecticide, Fungicide, and Rodenticide Act ("FIFRA"). FIFRA i-equlres subinission, review, and


         approval by die United States Environmental Protection Agency ("EPA") of detailed toxicology and

         environmental impact data prior to the s?de or distribution of any pesticide In the United States to


         ensure the product's safety.


                   34. Once the EPA approves a new active ingredient, die original manufacturer receives


         the exclusive right to cite the data it submitted in support of its active ingredient registration for ten


         years. Often, tins ten-year exclusivity period extends beyond the b^isic manufacturer's patent


         protection, bestowing twenty-plus years of exclusivity on the basic manufacturer.


                   35. After the basic manufacturer's exclusivity expires, a generic manufacturer of


         pesticides with f[ pesticide product containing die same active ingredient: may enter the market. These


         products may be equivalent to the basic manufactufer's product ("branded product") or may combine


         the active ingredient with other ingredients to make new products. A generic entrant must apply to


         register Its product for sale in the United States under FIFRA. However, FIFRA permits generic


         entrants to rely on the basic manufacturer's data. In turn, the basic manufacturer may be entided to


         compensation payments for its data, depending on the generic entrant's reliance on the data.
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                    36. Generic pesticides and active ingredients are usually sold at lower prices than the


         equivalent branded products sold by Defendants. As the generic manufacturers enter the market and


         gain market share, price competition ensues, causing the branded products' price and sales volume to


         decline.


                    37. When the brand manufacturers expect generic entry on an active ingi-'edient,


         Defendants employ certain strategies intended to block generic entry at die end of patent exclusivity

         and minimize the impact on prices and market shares of their branded products. Incentivmng


         distributors to circumvent generic entry, through so-called "loyalty programs," is instmmental to


         Defendants' strategies.


                    C. Defendants' Loyalty Programs


                    38. Defendants have each benefited from long-ldsting exclusivity rights under


         Congress's framework. But, unwUUng to relinquish the pricing and market-share benefits of exclusivity


         after exclusivity rights expire, Defendants implemented loyalt}^ programs through agreements with


         distributors who collectively make up the majority of aU pesticide sales in the United States. Each

         Defendant designs and administers its loyalty program with the purpose, intent, and expectation that


         the ptogram will impede generic competition and thereby maintain market prices and branded market

         share at levels higher than would otherwise prevail m a competitive market. Each does so for its own


         benefit and for the benefit of Its respective distributor.


                    39. Under their respective loyalty programs, Defendants offer substantial exclusion


         payments to distributors, conditioned on their limiting their sales of generic crop protection products

         containing specified post-patent AIs.


                    40. Defendants are among the top 20 global ngrochemical companies. Indeed, in Fiscal


         Year 2021, Syngenta was reported to be number one (with $13.3 billion in sales), BASF was reported

         to be number three (with S7.7 billion in sales), and Corteva was reported to be number four (with ^7.2
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         billion in sales).

                  41. Defendants' loyalty programs sidelined generic manufacturers* products, ?iUowlng


         Defendants to maintain market share despite pricing their crop protection products above competitive


         levels. The programs allow distributors to reap profits from prolonged elevated pricing of Defendants'


         branded pesticides. Through dlls, each Defendant has substantially achieved and maintained its


         monopolistic goals through its loyalty program with distributors. Defendants have kept generic


         manufacturers from supplying meaningful competition which allowed Defendants to raise, fix,


         maintain, or stabilized prices for certain crop protection products above competitive levels.


                  42. Syngenta operates its loyalty program—called the "Key AI" program—^vith both


         distributors and retailers. The Key AI program is implemented through written marketing agreements


         with distributors. BASF operates f[ similar program through what it now calls its "Share of Wallet"


         ("SOW ) program with its distributors. Corteva likewise operates a similar program with its


         distributors through what it now calls Its "Retailer Advantage" program.


                  43. Through their respective loyalty programs. Defendants incentivize distributors to


         refuse to sell generic manufacturers' pesticides. This enables Defendants to Increase market prices and


         maintain or increase their shares of pesticides felled on by farmers.


                 44. Defendants' loyalty programs are speciflcdUy designed to maintain supm-


         competitive prices and profits, which the Defendants then share wlfh their distributors, at the expense


         of farmers. In return for die distributo-ts restricting generic manufacturers' access to die traditional


         distribution channel. The agreements require pMticipnting distributors to meet very high loyalty

         thresholds for each active Ingredient and to deter them from marketing significant volumes of


         competing, lower-priced generic products. In exchange for a share of the profits resulting from the



         2 Shane Thomas, Upstfww AG Insights - October 16, 2022, UPSTREAM AG INSIGHTS (Oct. 16, 2022),
         http://ups treamagmsights. sub stack.com/p/upstream-ftg-msights-october-
         16th?utm_source=profde&utm_medium:=reader2.



                                                             10
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        scheme.


                45. Defendants' agreements with distributors provide exclusion payments in exchange


        for selling and, by prerequisite, stocking certain volumes of specific AIs. Whether labeled as "loyalty

        thresholds," "loyalty requirements," or described in terms of "qualifying EDI products volumes"


        (where "EDI" refers to "Environmental Data Initiative"), these programs incentivize distributors to


        drastically Umit both their supply and sale of generic products foi: specific AIs.

                46. Because the loyalty program incentive payments ate so important to the


        distributors' profits, It is virtually guaranteed that distributors will sell minimal amounts of generic

        products, as they must reach the obligatory thresholds under the loyalty programs to garner such


        profits. Some loyalt}7 program agreements go so far as to fotbld distributors from purchasing any

        products from generic manufacturers. Some distributors have deferred generic product purchases


        until the end of the season to make sure they meet the required threshold under the loyalty programs,


        leaving farmers without a reasonable choice of product during the time farmers most need it.


        Defendants and distributors have firmly upheld the terms of their loyalty progi-ams. Indeed, if a

        distributor fails to so restrict Its sales of generic product pursuant to the loyalty program agreement,


        it will be monetarily penalized.

                47. The volume of sales by participating distdbutors assures Defendants that no


        significant competing distributor will partner closely with lower-priced generic manufacturers.

                D. Loyalty Agreements: Their Operation and Effect

                48. Over several years. Plaintiff has purchased multiple branded products from


        conspiring distributors like Helena Agri-Enterprises and Winfield Solutions, LLC, who were

        incentivized to stock and sett such branded products pursuant to the programs described below.


        Although Defendants have used vaiying terminology, threshold requitements^ and EDI volumes as


        their programs developed, die unlawful intent and nature of these agreements has remained consistent.




                                                           11
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                           1) Syngenta*s "Loyalty Program"

                 49. As early as 2004, Syngenta acted with distributors to incentivize their stocking and

         sale of its certain brand products to U.S. farmers. The 2004 agreement covered AI products that are


         at issue here, as seen below:


                                                                                              2004 SOUTHERN FIELD CROPS
                                                                                                             I' • '; .", ! I, i. i, r i; d i, ': ,". wi



                                     Portfolio Sales Support
                                     Rewards Rctaili^a fw 1/ien slc'wardship of Synguilci bronA.


                                                                                                                                                     I\t:l'NIIVl:

                                      All pnrticip.lting Syngwta Crop
                                      Protect.on liidiKl-, ct'd pdLk sizes
                                      Corn and niitun sued (.uiDiniifcia!!/         • Fu'rhiiy; uinl w\l Syiigcnta btadri'. In grow;?^                     -1%
                                     1iwed v.itn (lie Syngrnla Seed
                                     Tlfatiwnl piodiH-I • Ciurci



                                     Bulk Support
                                     Re\vardi Ketwlw, foi stewdrd'.hsp and iwwtnwiil in tanlities fm <-i// Syngcnta bulk hwnds

                                            Un k PHI n UK is | IMIMIM | ,Krv | A( rn'in-

                                      Bicep II MAGNUM' brandi, Uu;ii
                                      MAGHUM b.'dnds. nnd LLIMAX"-'                            1U%                             Mw.'aid^iip ol <>)TKp>nt,t bulk IN.HIIJS.
                                                                                                                DK- 31st,      • Bulk v\c in'.ijectinn & comp'iantp
                                      MlreK'. Koundary, Lxpi'iT ,
                                                                                                                  Z003         • Heuifi agwK In ,-K-«:.pi ,1 niKnmuni
                                      Piiiicpli'. 'icqucnce'" and
                                     TnnclitWn tirrtiiJM.'f.ce-pt L'F                                                           slnpmcnl Uy tlie Ks/ Dflles
                                                                                                ,.
                                                                                                                               • tvenjredi cotTnrntmer'l (or mch
                                      Ui.l'.'o'. CiiMro! timi G'cirronfifip Mrln'
                                                                                                               H'fci. 14tli.     l.^il. find bi ami dt (.'ach loftitfon
                                      Toilttitluwn (_F                                          5%                /[)04




                 50. To further maintain its monopoly, Syngenta unlawfully targeted generics by


         incentivizmg Retailers l-o block generic inffltration Into Relevant Markets, as depicted in tliis 2004


         Loyalty Program Agreement.


                   Key Active Ingredient Support
                   Rewards Retailers for their foy^lly to Syngenta brands where a generic sltenwlive exi^{^.

                              ACTIVH I RDAMI^C I SYNC,ENTA I IK,/....
                         iNGRLOmN TS [ UI^Nt)s ITHR^I^ SHAltlj INCI.NTIVE
                    Abamertin                             Agri-mek , Zephyr', and Clinch"
                                                          Boundary", Bicep tl MAGNUM' biands.
                    5-metolachlor                         Dual MAGNUM" brand1,, Expeft1",
                                                          LUMAX™ and Spquenco™                                                                 98%
                    Prti'aquijt                           Gramoxune Max"'
                    lainbdri Cyhalothrin                 Waritoi diid Karate"                                                                                              5%
                    FlumeMin                              Prime4'''
                                                                                                                                               95%
                    Chlorothalonil                        Bravo'" brands and Tilt'VBravo-"
                    Piopicunazole                        Orbit™ and Tilt'                                                                     90%
                    Mefennxam                             Ridomil Gold" brynds
                    Prometi^n                             Caparol'                                                                            85%




                                                                                                 12
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                 51. This 2004 Loyalty Program protected multiple AIs, including s-metolachlor,

         pamquat, and lambda cyhalodirin—each of which Plaindff purchased—by requiring retailers to meet


         a 98% threshold share in order to collect a 5% incentive payment The threshold requirement meant

         that the participating retailer could not carry or sell greater than 2% of competing generic products

         containing these AIs, essentially blocking any meaningful competing generic products from entering

         this point in die distribution chain.

                 52. Through additional incentive programs, distributors could achieve even greater


         profits by meeting each "support" programs' mandatory stocking, selling, or blocking incentive


         requirements. The profits from die maximum incentive programs shown below would have translated


         into the millions:


                   Summary of Maximum Potential Incentives under 2004
                   Southern Field Crops Retailer Offer.


                    Bicep ii MAGNUM^ brands. Dual MAGNUM*- brai}ds
                                                                                       MiSiiiSSS£
                    and LUMAX™                                                                19%
                    AAtrexa Bfsvo" brands, BoLindary", Caparol'", Expert"1',
                    _Gfamoxone Ma^M, Sequence''" and Touchdowir- brandi                       16%
                     Pfincep"
                                                                                              11%
                    Touchdown Cf-™
                                                                                              9%
                                                                                       la/iiSlNcisSsmgi
                    Karate", Ti!tE and Warrior"
                                                                                              14%
                    AAtrex", Abound5', Agri-mek;', Amistar™, Bjcepll MAGNUM*
                    brands, Boundsry-', Btavot) brands, Camix™. CaparotE, Caliisto™,
                    Centcic", C ini:hs, Cuiaaon^, Cruisei"' on commefdally treated
                    cotton seed. Denim'". Dual MAGNUM" biands, Envok'e™,
                    Expert™, Fieuiaf, Force1 3G, rusilade", Fusion", Gidmoxone
                    Max™, LUMAX, Omegs'-, Orbh^ Ptetinum';;. Platinum'VRidomil                9%
                    Gold", Prime+t-, Pfodflinr, Qijadn^, QuadrisVSravo', QuiltfM,
                    Reflex". Ridomi! Goid^ br.anifc, Ridomil'^ravo"', Sequence™,
                    Suprend™ fWSiavo", Touchcjown*'- brands except CF, Uniforin™
                    (Qnadiis'TRidomil Gold"), Zephyr-

                    Ai! othe; panicipating package braads                                     4%



                 53. Importantly, although billed as a "retailer" program, the program is reflective of


         the industry's blurred distinction between retailers and distributors. Syngenta defined "Retailers" as "a


         retail business which purchases Syngenta products from Syngenta or an authorised S;^ngenta


         Distributor who has been appointed by Syngenta to sell and service eligible Syngenta products within


                                                                               13
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         the retailer's geographic area and resells such products to growers.


                         54. The program uses the term "distributors," as shown below, when delineating the


         qualifications for participating in the same programs:


                                 5u,a.cs. on.fl,n^.l:lc'fo,rr.n'ince for thi?.pfo-?am,'ari'dpterrnined based on net ED) sales transactions as reported by an HLthorized Syngenta
                                 ^'sl.r^uto-r at^d 'tlc!n w\d to ?ro.w^'r? NRt£E:>l sal(ls are defirifri as pufch<ases in wojghl 01 volume minus ^ [etums frofr ,1 Lontracled Syngenta
                                 .u?lf_utoir..purc ^ ^lrn ine!i9ihlecIllitiE'soi untl"lborize<J ti'^t'ibulors will he riisquahfied and not inLluded in qualification or pdyinent.
                                 volumes determined by Syngenla lo be 'bickered' will be disqualifieri.
                              • Sriles darn RetaileMo-Ketailci do not qualify ibi qutilificstion levels or program incentive.'*,.

                                 DistnLiutors and Dislributor-owned Retailers cafinot claim saks lo or ffum indepenctcnl RctLiilers tor qualificaliun dnd or inrentiw payment
                                 under (hi-t program Any salc^ made by aDislnbulor m^st he repnfted to Syngenla with acai^te Retailer ar 'end user' deslgnalion
                                 Rpporting sates to Retailerii c>s 'end users' is fraud and will result in dflta being declared incliyiblc (or considerfltion m this progrsm
                                 Rf-'Porlir19 of excessive qudntiliei that equalo lo mon; products thdii <in 'end user' <-<in use on hi:, acreage will result in data being declared
                                 ineligible for cons id era tbn in this pfogram. Sales to 'brokers' (including Intefncl brokprs), and otheii, that flre nril considered Ref^ilm by
                                 definition in this proyram will be disqualified. Syngenta reserves the light to be the final authohty in Lletermining llw validity of data and
                                 the inclusion of said dsti) in (fiis program,




                         55. A similar 2016 Syngenta loyalty program agreement shows die continued scheme


          to protect Its monopoly of "key AIs" by rewarding retaUers for supporting certain Syngenta AIs when


          a generic alternative exists. The image below, excerpted from the 2016 Syngenta LP» shows


          continuation of incentives on older AIs and inclusion of new AIs.



               Section 2. Key Active Ingredient Support
               ^a'r'd'Re7a'ilers-torth-e)r support of Syngenta products where a genenc alternative exists
                                                                                                                                       RETAILER SUPPORT
               ACTIVE INGREDIENTS                                                  PRODUCTS                                               THRESHOLD
                                                 Acuran. Catlisto 4SC, Callislo GT, Callislo Xtra, Hatex GT,                                      99%
               Mesotriono                        Lexcir EZ. Lumax EZ, Zemax                                                                                                  5%
                                                                                                                                                  98%
               Clodinafop                        Discover NG

                                                 Abound. Quadris, Quadris Opti, Quadris Top, Quadris Top SB,                                       94%                      10a/0
               Azoxysltobin                      Quadris Top SBX, Quill. Quilt Xcet, Uniform


               Diqufit                           Reglone


               Flumetftiiin                       Pfime4


               Fomesafen                          Flexslar. Flexslar GT. Flexstar GT 3.5, Prefix, Reflex                                           90%

               Mefencwam                          Quaclris Ridomil Gold, Ridontil Gold bfands, Ridomif Gold Bravo
                                                                                                                                                                              5%
                                                  Bicep tl MagnLim biands. Bicep Lite It Magnum. BroadAxe XC,
           ! S-mRtolachlor (S-MOC)                Boundary, Dual Magnum. Dual )1 Magnum brands, Expert.
                                                '    Sequence                                        __           _       .    -

           i
           ; Abamectin                          : Agri-Flex, Agri-Mek SC
           I         --           -       -


                                                  Karale with Zeon Technology. Warrior fl wild Zeon Technology                                     85%
           1 l.ainbcta Cyhalothrin


               Paraquat                           Gramoxone SL, Gramoxone SL 2.0




                          56. The products above are listed by AI, including mesotrione, azoxystrobin, s-




                                                                                                      14
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        metolachlor, lambda cyhalodtrin, and paraquat, all ofwliich have been purchased by Plaintiff. Retailers

        are required to stock and seU each Syngenta AI at a certain threshold in order to receive an mcentive


        (/.(?., a rebate).


                  57. Thus, by way of example, to obtain the 5% incentive applicable to mesotrione, the


        retailer must achieve a threshold of 99% Syngenta mesotrione sales. For azoxystrobin, the threshold


        is 98% and the incentive is even higher—10%. And for s-metolachlor, it is 90%. Older AIs, such as


        paraquat and lambda cyh^lothrm, that once required a 98% threshold m 2004, still required an 85%

        threshold in 2016. Thus, the threshold and incentive amounts changed, but the objective did not.


                  58. The purpose and effect of the 2016 loyalt}^ program remained the same: in order


        to obtain due incentive, a retailer must virtually exclude from its inventory generic products containing


        the AI. Such incentive payments have a substantial impact on distributors' income.


                  59. As reflected in diese documents, Syngenta polices these requirements rigorously. It


        starts by collecting data from the distributors, which must provide information about their total net


        sales to farmers of Syngenta and generic products before Syngenta will make incentive payments.


        Syngenta provides distributors with a handy digital calculator app to assist them m making sure they

        have correctly calculated the necessary support threshold. Syngenta reserves the right to verify the


        accuracy of the distributors' math and to independently audit the threshold figures to confirm, to

        Syngenta's satisfaction, that the retailefs have earned Syngenta's incentive award by selling the required


        percentages ofSyngenta AI. Syngenta has had these programs for many years.


                  60. As also reflected in these documents, Syngenta can modify the incentive system, at


        will, based on Its determination of changes in the market, and has full discretion to change the AI


        calculator at any time to reflect what Syngenta believes are the current marketplace conditions.


        Syngenta:>s loyalty program thus deprives generic competitors of the abiMty to gain meaningful market

        share, as is intended. Such suppression of generic market penetration causes the Plaintiff and farmers




                                                            15
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        to pay artificially maintained, higher prices for these products.

                            2) BASPs EDI program and SOW program

                61. BASF's history of acting with distributors has included utlli2;mg EDI volume goals

        to disincentivize stocking and selling of competitor generic products and later incorporating its Share


        of Wallet-" program to accomplish the same objective.


                62. Like Syngenta, and in accordance with industry practice, BASF's 2004 loyalty

        program agreement encompassed actions by participating distributors. (Excerpts from the 2004 BASF


        LP are attached as Exhibit 3). As seen in the below excerpt from die 2004 BASF loyalty program,

        though BASF's program is labeled as a "Retailer Package Program," it also explicitly includes

        distributors under "Eligibility."



                                          BASF Retailer Package Program
                 FfflTtrw Ortotwr), Toy




                 Qblective:
                 To strengthen Inrty-temi, strategic, business relationships between 8ASF and Rutai'er accounts by rewarding Socal demand
                 creation efforts and stewardship of BASF package brands. BASF endeavors to assist Relailcrs in growing their business
                 with grower customers through product technology, convenient packaging and producl support.


                 Proijrsm Period:
                 October 1,2003 Ihrough September 30,2004


                 Effective Area:
                 Ati states in (he U.S. markeling area


                 EliQibilitv:
                 a All Retailers meeting fhe minimum BA5F net sales dollars required (or its detined geography reported through EDI by
                       October 8, 2004.


                 u Only purchases from BASE Aulhorized Distributors will be eligible,



                63. Under its 2004 program, BASF sought to exclude generic competition by

        incentivmng participating distributors to maintain at least 90% of specific brand BASF sales from year




        3 2004 BASF Retailer Package Program.



                                                                      16
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         to year. Incentives were based on "Net EDI sales defmed as Authorized Distributor transmissions of


         product movement transactions" from October 1, 2003, through September 30, 2004.'


                 64. If a participant failed to obtain a 90% repeat of sales from years 2003 to 2004,

         BASF's offer rebate was halved, causing a loss of profits within the millions for any participating


         distributor. The program's associated schedules are detailed below.


                  Payment Iwentiue:
                  Base Payment IncentSve:
                                                                                                         Schedule A                                Schedule B
                                                                                                if 20CM Totaf Qualitied BASF Nei ff 2004 Total Qualified BASE
                                                                                                  EDI Sales (Bulk + Package) is Net EDI Sales (Bulk + Package)
                                                                                                 S0% or Greater -Than Relailer's           is less Than 90% of Retailer's
                                                                                                 2003ToiaiQualirie<iBASFMel                2003 ToteS Quaiified BASF Net
                    PartScipating hcentiwwtf BASF Package Brands
                                                                                                          EDt Sales                                  EDI Sales
                   Apogee", Be^ontT", Cabrio" EG, Cadre" D6, Clarity^
                   Conclude Xact*,Countera CR and 15G. DjstJnct^. Facef,
                    Frontier, G-Max Lite , Guardsman , Guardsman Max,                                             w.
                                                                                                                   ro                                      6%
                   Newpath* Nexter'', Penlia", PJ^ Plus, P'^' Ultra,
                   Ponnax*. Outlook, Prowl^EC, Prowr H^O.
                   Pursuit, Pursuit" Plus. Raptor*. Regenf, Rezuir,
                   Scepter^, Squadrorf, Sovran4J.


                   Acrobat- 50WP, Backdraff SL, Ceiebrily Plus". Extreme",
                   Marksmatf. Paramount"', Pyramite"', Ronilan"',
                    Steel®, Weedmaster?
                                                                                                                 fO/.
                                                                                                                  70                                       4%
                  ' Brands repacked by distributors w si»utltes tifed by BASF vf& be psud at the same percefitacje ss the package payment for that braml
                  '* Exduding Ibe stales of WA, OR, !D, MT, CA. UT, NV


                  2004 BASF Retailer Pafiftaoe Pfofsmm Rutes and Conditlwst
                  o Payment incentives wi!i be catcu!aled at a RetaiSer's Operating Unit level.

                  a All Payment Inceniives will be based on Net EDf Safes defined as Authonzeti Distributor transmissions of product movement
                       transactions via EDI (purchases less returns) (rom October 1,2003 to September 30,200^.


                 65. The program's requirement that participating distributors essentially repeat their


         percentage of participating brand product sales from 2003-04, worked to ensure that there would be


          little room in the market for generic compedtots selling the AIs at issue.


                  66. In 2022, BASF continued its efforts to thwart generic mttusion of its key AI market




          ^u



                                                                                     17
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       into the traditional distribution channel through its adapted loyalty program, which is now called

       "sow."


              67. The term SOW indicates the percentage of sales ofBASF branded products that a


       retailer must achieve to earn the "Base Incentive for the t<AI Loyalty Brands." As with Syngenta, the


       program is policed through a requirement that die retailer submit SOW percentages to BASF to be

       entitled to any incentive payments.


              68. This BASF 2020-21 loyalty program agreement required participants to maintain

       90% to 95% thresholds on muldple brand products to receive its valuable SOW incentive. As shown


       below, BASF listed those AI products, all believed to be off-patent, which were subject to 90% or


       higher threshold requirement.


                4. Al Loyalty Requirement;


                                                             BRANDS SOW REQUIREMENT ACTIVITY

                     BOSCALIO          Encfura EG fungkide, Pristine EG fLingicide                                            90%
                                       Cabrlo fungicicte. Headline AMP fungjckle,
                                          Headline EC fungidde, Headline SC
                                         fungicide, Merivon fungicide, Nexicor
                       F500                                                                                                   90%
                                        fungickle, Priaxor fungicide. Pristine EG
                                       fungickle, Revytek fungicide, and Veltyma                                                                   BA6F Authorized Retailer
                                                        fungkide                                                                                    is required to submit

                                      Liberty herbicide, Noventa™ herbicide, and                                                                      SOW% through
                   GLUFOSINATE-                                                                                                                      enrollment tool by
                                        BASF sourcecl private label Glufosinate-                                              90%
                   AMMONIUM*                                                                                                                         October 15,2021
                                                          ammomum
                                        Beyond herbicide, Raptor lieibicicte, and
                    IMAZAMOX                                                                                                  95%
                                                   Varlsto heibicifle
                                      Prowl 3.3 EC herbicide. Prowl H20 herbicide
                  PEMDIMETHAUN              and 8A5F sourced private label                                                    90%
                                                    Pendimethalin
                                                 • 6'ufoiin>te-»'THT.on ufn lc^lty ftquirtFr.tnt n waivtd for AZ. CA. FL, ID, MV, OR, LIT and WA


                        a. In order to earn the Base Incentive on A! Loyalty Brands (listed above) an active ingredient Share of Wallet (SOW) is
                             required at the thresholds indicated AS the SOW Requirement:

                                     90% SOW on Boscalid contiiining brancts
                                     90% SOW on F500 containing brands
                                     90% SOW on Gtufosinate-dminoniLim containing brands
                                     95% SOW on hnazamox containing brands
                                     90% SOW on Pendimethalin containing brands



                      3) Corteva*s> and Its Predecessor DuPont*s, EDI Volumes Programs


              69. Corteva, and its predecessor Dupont, used EDI volumes as the basis of its various




                                                                                18
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         programs to mcentivize participating distributors to limit generic competition to its key AIs.

                 70. Prior to the merger of Dow and DuPont, the latter had in place the "DuPont


        Agricultural Retailer Sales & Service Incentive Offers" program that offered incentive payments to


         retailers profiting on DuPont crop protection products.


                 71. The program was implemented by rebates calculated with reference to "base


        incentives" and "additional incentives" that allowed distributors to engage in "stewardship" for


         DuPont branded products, which meant selling less generic competitive products. Likewise, prior to


         the merger, Dow had a similar program that incentlvized "Stocking" and Stewardship" for its


         branded products.


                 72. Dow's Stocking incentive required retailers to stock and sell a certain threshold


        percentage of its branded products. More specifically, the Stocking program required participants to

         stock and sell an amount of certain AI products based on the previous year s EDL, ensuring that only


         a minimum percentage of generic, competitmg products could enter that pardcipanfs chain of


         distribution. As seen in die image below, die stocking threshold for certain AIs reached up to 75% of

         the previous year s EDI volume.




                                                            19
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                 Once llic muiimum requireinent is inc[ by the .stock'ing date <ind sold by UIL- end nt the Myrket Ye;ir. pdvnn'nt i.s
                 iwtde on alt net purcluises (luring the progrym year.


                                                                                 Stocking        Mill. Volume L'ustonu'r
                 I'rnrluct                                                       Pay Rate        Must Sfouli & Self in 2005.2006        D:i (e
                 .Sonu];in [dG tn'rbicniE;                                         4..V,;        i<.(K)0!b,s,                          ll/IMI.-t
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                  •t)inil;]H HFPPin.-k.n'i;                                        A.V.:         7«!,i or301N.2()05 l:.n[               3/1'Wi




                  73. As seen below, the same 2005-06 program »lso offered a Ste^dsUp Uve


           program for certiun products that met an 80% EDI threshold:


                     4. DowAyroScicnccs m.iy inak, pruyrum p>oiL-icss ]><.ymc,n<, ^ri»& (he 2Wt5.2t106 M«i(<f( Yeur: ^ ^ ^ ^ ^
                          aOPro^Vpaymeiits .K. l.asc'd on ^)^ "f Oie sl^-m'Llship <;;iminys oi partK'ii^tm& p>-oil»cts c^c«l.?d (ro>«

                               EDI-reporleil cl;i(n uvuiliiblc 10 Oow A}:r"Scieni:es.

                          (b) Final payment insiiftl by Recrmhcr^l,2ftn6. ^ . , _..,.,.
                          (c) l.)ik)wii;g llic pmyi,u.>^cl date .nd fin;il paym.nt for Ihe 2005.200& pmy.nn, ^y .h.rge in .n RRI )^i^t v.luc «:.«i>i^
                               in .-, negative )m>sr;im ^"•"'"P ^'" ^ '^1^»^ i''0"! <titurc Dnw Ay^S^k'nccs Retail Piognim <^miug;>.




                    74. In a 2015 DuPont loyrity progiam ^.eefflent, partiopants had to exceed the.pnor


           ^.-s .les of speafic AIs and p.oducts >n e^nge fo. an addiuonal p.ofitable bonus ofc. The

            105"/» d.esHold seen beW .eant to eve. fe^ ge.enc co»pe^ p.oducts ^ the s^U

            pe.cen.ge ^ved undo. the p.og^'s ^ the p^ous ye. would be .Uowed to co»pete.




                                                                                     20
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                 Sales and Service Pays
                 The Sales and Service Pays incentive is a reward for achieving total portfolio growth vs the prior year.

                 Criteria
                 • Qualify for the Retail Advantage - Sates and Service Incentive
                 * Earn 1% on total portfolio sales with growth of 105% over prior year.
                 • Earn another 1% on the total portfolio if sales growth of the following products collectively total 105% over
                     prior year.
                          • Afforia™, Aproach® Prima, Coragen®, Envive®, Fontelis® LeadOff6', Prevathon®, Realm® Q and
                            Vydate® C-LV.




               75. Programs similar to the 2005-06 DuPont program are carried on by Corteva.


        Corteva's loyalty program agreement is reflected in die below image, excerpted from its 2020-21


        Retailer Offers brochure.




                               Retail Advantage Pfogram



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               76.            To obtain the rebates promised under this pi-ogfam, the Retailer must be a




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        significant force m die market, with a minimum of ^50,000 in Corteva sales during the previous year.


        The distributor must also work closely with a Corteva Territory Manager, which would necessarily

        impede it from making any purchases of generic crop protection products manufactured by generics


        that compete with Corteva branded products. And the distributor must submit valid grower data to


        Corteva consisting of an Excel spreadsheet reflecting purchases from it by growers.


                 E. Exclusive Loyalty Programs are Detrimental to U.S. Farmers.


                 77. In September 2022, the FTC, joined by multiple state Attorneys General ("AGs")

        filed a lawsuit against Defendants over these practices. The lawsuit and the separate Jolnder


        statements of state AGs unequivocally assert that, after an extensive investigation. Defendants are


        engaged in d scheme to minimize generic penetration of the markets for AIs used In crop protection


        by bribing distributors through incentives that ensure they will sell litde, if any, generic alternatives.

                 78. The consequences for farmers are significant because generic competition


        translates Into lower retail prices for effected crop protection products; thus. Plaintiffs and farmers'


        Incomes are direcdy and negatively affected.


                 79. In announcing his state s joinder in this action, the Minnesota AG stated:


                                   To encourage innovation, companies such as Syngenta
                                   and Cofteva can initmUy develop, patent, and register
                                   active ingredients in their products and exploit their
                                   commercial potential for several years. After those
                                   protections expk'e, generic manufacturers may enter
                                   the market with products with the same active
                                   ingredients and relying on die same toxicology and
                                   environmental Impact studies. T/w competition ordlnay
                                    leads to ffiwwfk' price reditctiom, benefif'wg farmers and




        5 federal Trade Commhswi, ef ai //. Syngenta Crop P/vfeaw/ AG, M.D.N.C. l:22-cv-00828 (9/29/2022) at ^ 90,
        rtvftilable at, hrtps://^?ww.docketalfti'm.com/cases/Nordi_C<irolu-ta_]VUddle_Dlsri-ict^Court/l-22-cv-
        00828/FEDERAL_TRADE^C01VIMISSION^t^Lv.__SYNGENTA__CROP_PROTECTION^AG_et_til/l/

        6 Donnelle Eller, Iowa joins 9 states in wing agpesthide makers, afkging (inticompefit'ive pfwfh'es, DES MOINES REGISTER
        (Sept. 30, 2022), http://w\\7\v.desmoinesregister. corn/stoiy/money/ftgriculture/2022/09/30/iowa-Joins-
        sfates-smng-corteva-syngenta-over-loyalty-prograins-lawsuit/6952880 8007,.



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                80. An op-ed piece by FTC Chair Una Khan, published in the Des Moines Register

        explained the issue in greater detail:


                                 The scheme starts with patents. Companies like
                                 Syngenta and Corteva are in the business of inventing
                                 new active ingredients for pesticides. Each time they
                                 do, they get to patent that Invention. A patent entides
                                 an Inventor to a 20-year period where only they are
                                 allowed to sell the invention. But Acre's a
                                 compromise: Once the patent expires, anyone is faee
                                 to bring a generic version into the market. That's why
                                 when you have a headache, fof example, you can
                                 choose between Tylenol and generic acetamlnophen.
                                 When someone holds a patent they can generally
                                 charge high prices, given that nobody else can sell that
                                 product. But once the patent expires and generics
                                 come m, the original patent holder should have to
                                 compete with them, including on price.
                                 Syngenta and Corteva weren't satisfied with this
                                 compromise. They wanted to keep raking in big profits
                                 even after the patents expired. To do that, our lawsuit
                                 alleges, each company plotted to cut farmers off from
                                 cheaper generic alternatives. In general, manufacturers
                                 don't sell pesticides directly to farmers. They sell to
                                 distributors. Syngenta and Corteva realized tl'iat these
                                 distributors were a potential choke point. So they each
                                 launched "loyalty programs" in which distributors who
                                 bought their products would receive large payments,
                                 styled as a rebate. The catch: If those middlemen
                                 distribute too many generic pesticides, they don t get
                                 the money. In other words, distributors get paid to
                                 exclude generics.
                                 This works out the way you'd expect. Distributors
                                 don't want to miss die payments, so they go along with
                                 the program. After all, it doesn't hurt them to spend
                                 more on brand-name pesticides, because they get to
                                 pass those costs on to retailers and, ultimately, to
                                 farmers. With distributors understockmg generics,
                                 farmers end up having little choice but to buy Syngenta
                                 and Corteva. And here is the payoff to die whole
                                 scheme: Because farmers are locked into buying their
                                 stuff, Syngenta and Corteva can keep charging inflated
                                 prices, as Ifthelf products were still under patent. The
                                 pesticide giants can make more profits by blocking
                                 rival products from die market than by competing with




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                                 them.7


        Importantly, the FTC complaint refers to similar arrangements.


                81. The difference m price between the branded product subject to a loyalty program


        and its generic substitute can be substantial; in some instances, die generic product's retail price can


        be 8% of the branded product's retail price.


                F. Defendants Anticompetitive Activities are Ongoing and Unceasing.


                82. Defendants had the opportmiUy to discuss and coordinate their respective loyalty


        programs through CropLife America ("CLA"), the national trade association that represents the


        manufacturers, formulators, and distributors of crop protection products. Only manufacturers and


        distributors of crop protection products are eligible for full membership in CLA. Corteva, BASF, and


        Syngenta are members of this trade association; a representative ofCorteva formerly chaired its Board


        of Directors and its current chair, elected in 2022, is Paul Rea ofBASF Agricultural Products Group.


        Coordination with respect to loyalty programs was also available through the Agricultural Retailers


        Association ( ARA ), which advocates, influences, educates and provides services to support its


        members in their quest to maintain a profitable business environment, adapt to a changing world and


        preserve their freedom to operate/ Current members of the Board of ARA Include representatives


        ofNutrlen, Corteva, and Syngenta. The CRA cooperates extensively with die ARA.


                83. Syswato Das, a spokesperson for Syngenta, has said that the loyalty programs are


        part of a longstanding "rol/nffay and indffsty-statidardprogmm''1 (emphases added) and asserted that "[w]e


        are disappointed that die FTC has failed to appreciate the beneficial effects that these rebate programs

        provide to our channel partners Mid to growers." Kris Alien of Corteva expressed similar views. And



        7 Una Khan, Opimon: AG conipdnies loyalty programs Hnfah'ly extract pfofits ffvm wnsHmcrs, DES MOINES REGISTER
        (Oct. 6, 2022), http://\v\'\^v.desmomesregister.com/stor)T/opmion/colummsts/2022/10/06/syngent'A-
        cortevafarmers-lawsuit-un fairly-extract-profits-from-consumers/69 542239007.
        8 ARA, https://\v\v\v.aradc.org/about/about-ara (last accessed Feb. 13, 2023).

        9 Margey Eckelcamp, 8 Thing to Ksww About the FTC S/ff/ig Syngenta and Cofteva, (Oct. 10, 2022),



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        Vem Hawkins, Syngenta's President of Crop Ptotection^ has taken die extceme step of accusmg Lma


        Khan of the FTC of lying in her aforementioned op-ed article.

                G. Relevant AIs


                           Syn^renta AIs


                84. Syngenta's loyalty ptogram applies to several AIs, a number of which Plaintiff has

        purchased over the course of several years. The Syngenta AIs that are the primary focus of this


        Complaint are metolachlor (and s-Metolachloi:), mesotrione, azox5?sti:obm, paraquat, and lambda


        cyhalothrin. These are referred to collectively as the Syngenta Relevant AI(s).

                85. Mefo/achhr (s-Metol^chlw). Metolachlor (which term is used herein to refer to

        both the original metolachlor compound and the subsequent s-metolachlor variant, each as described


        below) Is an herbicide used on a wide variety of crops, including corn, soybeans, grain sorghum, cotton,


        peanuts, potatoes, vegetables, sunflowers, and sugar beets. Sales of crop protection products


        containing metolachlof in due United States exceeded $400 million in 2020.

                86. Syngenta's relevant patent protection for its original metolachlor expired in or


        about 1996. A Syngenta predecessor company developed, patented, and registered a variant of the


        original metolachlot, known as s-metolachlor. Syngenta's relevant patent protection for s- metolachlor


        andsubsequentexclusive-useperiodfors-metolacHor expired in 2003. As noted in the 2016 Syngenta


        document discussed above, s-metolachlor sales by a Retailer that reached the 90% threshold were


        subject to a 5% incentive rebate.


                87. Mesofrione. Mesotrione is a widely used corn herbicide. Sales of crop protection


        products containing mesotrione in the United States exceeded $200 million in 2020. Mesotrione was




        http:/Avw\v.thepacker.com/news/produce-crops/8-things-kno\v"about-ftc-suing-syngentEi-and-corteva.

        10 Meghan Grabner, Syngenta Pushes Back Against FTC Co))iplamt^ (Nov. 2, 2022),
        http://brownfieldagiiews.com/news/syngenta-pushes-back-agamst-ftc-complamt/.



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        initiaUy developed, patented, and registered with the EPA by Syngenta (including Syngenta affiliates).

        Syngenta s relevant patent protection for mesotrione has expired.


                88. Under its loyalty program, Syngentfl made exclusion payments to its distributors


        who refrained from marketing significant volumes of competing, lower-priced generic mesotrione


        products. As noted in die 2016 Syngenta document discussed above, Retailers who recorded 99% of


        branded mesotrione products could obtain a 5% loyalty rebate.


                89. Generic manufacturers have made few inroads with distributors. At least two


        generic manufacturers delayed or terminated their planned entry into the mesotrione market due to


        loyalty-program concerns.


                90. A^oxysfrobm. Azoxystrobin is a broad-spectrum fungldde that protects a wide


        variety of crops from fungal diseases. It has annual global sales of over $1 bUlion. Sales of crop-


        protect-ion products containing azoxystrobm in the United States exceeded ^100 million in 2020.


        Azoxystrobm was initially developed, patented, and registered with die EPA by a Syngenta

        predecessor company. Syngenta's exclusive-use period under PIPRA has expired. As noted in the 2016


        Syngenta document discussed above, azoxysti-obln was subject to a 98% loyalty threshold requirement


        for which a Retailer could obtain a 10% rebate.


               91. Fomesafen. Fomesafen is f[ widely used selective-applied and foliar herbicide for


        control of broadleaf weeds in soybeans. In 2018, approximately six million pounds offomesafen were


        applied. Fomesafen was initially developed, patented, and registered with die EPA by Syngenta


        (including Syngenta ^ffili^tes). As noted in the discussion of die 2016 Syngenta document, fomesafen

        was subject to a 90% retailer support threshold for which Retailers received a 5% rebate.


               92. Paraquat. Paraquat is one of the most-widely used herbicides. It had annual global


        sales of over $90 million in 2021. Paraquat was initially developed, patented, and registered with the

        EPA by a Syngenta predecessor company. Syngenta's exclusive-use period under FIFRA has expired.




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         As noted in the 2004 Syngenta document discussed above, paraquat was subject to a 98% loyalty

         threshold requirement for which a RetaUet could obtain a 5% rebate.

                 93. Lambda CyhalotHnn. Lambda cyhalothrin is an agricultural pesticide. Sales of

         Lambda Cyhalothrin in 2020 have been estimated at $1.25 biUion worldwide. Lambda Cyhalothrin

         was initially developed by a Syngenta predecessor company and was registered by the EPA in 1988.

         Syngenta has sold and sells products containing lambda cyhalothrin under the names Kaftite® and


         Warrior®, among others. Lambda cyhalothrin received patent protection until 2003. As noted in the


         2004 Syngenta document discussed above, lambda cyhalothrin was subject to an 98% loyalty threshold

         requirement for which a distributor could obtain a 5% incentive payment from Syngenta.


                 94. Under Its loyalty program, Syngenta has made exclusion payments to its distributors


         who refrained from marketing significant volumes of competing, lower-priced generic Syngenta


         Relevant AI products. As noted in the Syngenta documents discussed above, Syngenta Relevant AI


         sales by a distributor that reached exceptional threshold ranges, in some cases as high as 99%, were


         subject to significant incentive rebates worth millions to pai'dcipatmg distributors.


                 95. During the relevant time period, Syngenta^s loyalty program substantially limited

         and foreclosed generic manufacturers from providing effective competition m the sale of Syngenta's


         Relevant AI products. As a result, Syngenta and its co-consplring distributors have benefitted from


         supra-competitive prices of Syngenta Relevant AI products even though generic manufacturers


         introduced competing AI products in the United States after the expiration of Syngenta's Relevant

         AI(s) patent exclusivity. Generic products containing these same AIs were priced significandy below

         Syngenta^s existing crop protection products.


                96. Under Syngenta's loyalty programs, its distributors strictly managed their generic

        AI(s) open space, focused on marketing Syngenta Relevant AI products, rather than the competing

        generic's equivalent AI products, and m some cases, stopped selling generic products despite




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       customers continued demand for lower-priced Syngenta Relevant AI products. Tl-ie loyalty program


       ensures distributors sell mirmml, if any, generic Syngenta Relevant AI crop protection products in


       exchange for loyalty rebates.

               97. Syngenta's prices remain significantly above competitive levels. Syngenta's loyalty


       program has resulted in higher prices for crop protection products containing each of Syngenta^s


       Relevant AI(s) than would prevail in a competitive market.


                          BASPs Relevant AIs

               98. As noted in the BASF's 2022 "Program Summary Guide" discussed above, BASF's


       loyalty program extends to five products, all of which are believed to be off patent.

               99. They are: (1) boscalid, a broad spectrum carboxinide herbicide initiaUy used with

       specialty crops and now extended to other crops such as cereals and oilseed rape; (2) FfOO^ offering


       speedy and long-lasdng effectiveness in controlling a broad range of key fungal diseases In sensitive


       populations in over 60 crops; (3) glufosinate ammonium, one of the most widely-applied broad

       spectrum herbicides, used in controlling weeds In a huge variety of worldwide crops; (4) twaf(£imo^


       a selective broad spectrum herbicide used for eliminating broadleaf and grassweed, particularly in


       connection with soybean crops; and (5) pendimethalin^ a preemergence and postemergence herbicide


       used to control grasses and broadleaf weeds. AU these crop protection products are among BASF's


       most profitable. These five products are referred to herein as the "BASF Relevant AI(s)."


               100. During the relevant time period, BASF's loyalty program substantially limited and

       foreclosed generic manufacturers from providing effective competition in die sale of acetochlor


       products. As a result, BASE has benefitted from supra-competitlve prices of acetochlor products.


       Generic manufacturers introduced acetochlor products in the United States after the expiration of


       BASF s patent exclusivity. Generic competitors' products containing the BASF Relevant AJ(s) were

       priced lower than those products. Nevertheless, generic manufacturers have made few inroads with




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        distributors.


                101. Under the loyalty program, distributors strictly managed their generic acetochlor

        open space, focused on marketing die BASF Relevant AI products rather than generic products, and


        in some cases, stopped listing generic products despite customers' continued demand for lower-priced


        counterparts. The loyalty program ensures distributors seU minimal amounts of, if any, generic


        acetochlor crop protection products.


                102. BASF's loyalty program has deterred generic manufacturers from introducing

        counterparts to products containing the BASF Relevant AIs in the United States, at all, or from


        offering innovative new products.


                103. BASF's prices remain significantly above competitive levels. BASF's loyalty

        program agreements have resulted in higher prices for crop protection products containing BASF


        Relevant AIs than would prevail in a competitive market.


                Corteva?s Relevant AIs


                104. Corteva's loyalty program applies to a number ofAIs. Those Corteva AIs th'At are


        the focus of this Complaint are oxamyl, rimsulfuron, and acetochlor (collecdvely referred to as the


        "Coi-teva Relevant AI(s)").


                105. Oxamyl. Oxamyl is an msecticide and nematicide used primarily on cotton and

        potatoes, in addition to onions, apples, citrus faults, pears, carrots, peppers, tomatoes, and tobacco.


        Oxamyl was initially developed, patented^ and registeted with die EPA by a Corteva predecessor

        company (DuPont). Corteva's relevant patent protecdon and the exclusive-use period under FIPRA


        have expired.


                106. RimsuJfuron. Rimsulfuron is an herbicide used on crops such as fruit, tree nuts,


        potatoes, corn, soybeans, peanuts, and tomatoes. Rimsulfuron was originally developed, patented, <ind


        registered with the EPA by a Corteva predecessor company (DuPont). Corteva's relevant patent




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       protection for rimsulfuron and the exclusive-use period under FIFRA expired no later dian 2007.


               107. Acetochlov. Acetochlor is an herbicide that is used predommandy on corn, but also


       is used on cotton, soybeans, sunflowers, peanuts, potatoes, and sugarcane. Sales of crop protection


       products containing acetochlor in the United States exceeded SS400 million in 2020.


               108. The EPA granted registration for acetochlor in 1994 to the Acetoclitor Registration

       Partnership ( ARP ), a pint venture of basic manufacturers. The ARP continues to hold the United


       States registration for acetochlor; Its current partners are Cortev^ and Bayer. Bayer manufactures


       acetocUor for both parties. Relevant patent protection for acetochlor has expired.


               109. Under its loyalty program, Corteva has made exclusion payments to distributors


       for refraining from marketing significant volumes of compedng, lower-priced generic Corteva


       Relevant AI products. As noted in the Corteva documents discussed nbove, Corteva Relevant AI(s)


       sales by a distributor that renched exceptional threshold ranges, in some cases as high as 105%, were


       subject to significant incentive rebates worth millions to participating distributors.


               110. During the relevant time period^ Corteva's loyalty program substantially Umited and

       foreclosed generic manufacturers from providing effective competition in die sale of Corteva's


       Relevant AI products. As a result, Corteva has benefitted from supra-competitive prices of Corteva's


       Relevant AI products even though generic manufacturers introduced competing AI products m the


       United States after the expiration of Corfeva's Relevant AI(s) patent exclusivity. Generic products of


       these same AIs were priced significantly below Corteva's existing crop protection products.


               111. Under Corteva's loyalty programs, participating distributors strictly managed their

       generic AI(s) open space, focused marketing on Corteva Relevant AI products rather than generic


       competitors to those same AI products, and m some cases, stopped seUing generic products despite


       customers continued demand for lower-priced Corteva Relevant AI products. The loyalty program


       ensures distributors sell minimal, if any, generic Corteva Relevant AI crop protection products m




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        exchange for loyalty rebates predicated on abstaining from selling the same AI crop protection

        products made by generic producers.


                112. Corteva's prices remain significantly above competitive levels. Cortevas and


        distributors loyalty programs have resulted in higher prices for crop protection products containing

        each of Corteva's Relevant AIs that would prevail in a competitive market.


               H. Defendants' Monopoly Power


                113. The relevant geographic market is the United States. United States farmers may not


        lawfully use crop protection products manufactured and labeled for use outside due United States.


                114. Separate relevant product markets exist for Syngenta's Relevant AIs (azoxystrobin,


        mesotrione, metolachlor, fomesafen, paraquat> ^nd lambda cyhalothrin) ("the Syngenta AIs Market"),


        BASF's Relevant AIs (boscalid, glufosinate, pendimethalin, F500, and imaxamox) (the "BASF AIs

        Market"), and for Cotteva's Relevant AIs (rimsulfuron, oxamyl and acetochlor) (the "Corteva AIs


        Market") (collectively die Syngenta AIs Market, BASF AIs Market and the Corteva AIs Market are

        referred to as die "Relevant AI Market(s)").


                115. Each Defendant's Relevant AI Market consists of: (1) the technical grade or

        manufacturing use of each of the Defendant's Relevant AIs to be formulated into an EPA-registeied


        finished crop protection product for sale in die United States, and (2) each Defendant's Relevant AIs

        as a component of an EPA-reglstered finished crop protection product for sale in the United States.


                116. As to each Relevant AI, allegations herein relating to the Relevant AI Market(s)

        apply to both sets of product markets described above.


                117. At all relevant times, Syngenta had monopoly power in the markets for


        azoxystrobin, mesotrione, metolacliEor, fomesafen, paraquat, and lambdn cyhaiothrin, as well as


        markets for crop protection products containing those specific Relevant AIs, because Syngenta had

        the power to price Relevant AIs and crop protection products containing those Relevant AIs at supra-




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       competitive levels without- losing substantial sales to other products prescribed and/or used for the


       same purposes as azoxystrobm, mesotrione, metolachlor, fomesafen, paraqu/it, and lambda


       c)7halothrin and crop protection products containing diose Relevant AIs.


               118. At all relevant times, BASF had monopoly power for Boscalid, F500, Glufosinate


       ^mmonium, Imazamox, and PendimeAalin, as weU- as for crop protection products containing those


       specific Relevant AIs, because BASF had the power to price Relevant AIs and crop protection


       products contammg those Relevant AIs at supra-competitlve levels without losing substantial sales to


       other products prescribed and/or used for the same purposes as the BASP E.elevant AIs and crop


       protection products containing those Relevant AIs.


               119. At all relevant times, Cofteva had monopoly power for rimsulfuron, oxamyl,


       flcetochlof, and crop protection products containing those specific Relevant AIs, because Corteva had


       the power to price Relevant AI and crop protection products conttunmg those Relevant AI at supra-


       competitive levels without losing substantial sales to other products prescribed and/or used for the


       same purposes as riinsulfut'on, oxamyl, acetochlor, and crop protection products containing those.


       Relevant AIs.


               120. During the relevant period, the Defendants have dominated their respective


       Relevant AI markets with sales of their own branded Relevant AIs and crop protection products


       containing those .Relevant AIs and by excluding generic competition through operation of each loyalty


       program.


               121. To die extent that Plaintiff and Class Members may be required to prove market


       power circumstantially, by first defining ?i relevant product market, Plaindff alleges that Ae relevant


       product market is composed of each Defendant Manufacturer's Relevant AIs and crop protection


       products containing those Relevant AIs, both brand and generic, m all forms sold in die United States.


               122. For each Defendant's Relevant AI(s), other AIs are not close enough functional or




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        economic substitutes to prevent Defendants from maintaining prices of crop protection products


        containing their specific Relevant AIs above competitive levels.


                 123. For each Defendant Manufacturer's Relevant AI(s), absent the restraints of tmde


        imposed by the Defendants' loyalty programs, unconstrained competition from generic crop


        protection producf manufacturers would have had a significant and non-transltoiy downward effect


        on prices in that specific Relevant AI(s) Market.

                 124. Direct evidence of each Defendant's monopoly and market power includes each


        Defendant's ability to price Its Relevant AIs and crop protection products containing those Relevant

        AIs above competitive levels, and to exclude competition from generic manufacturers through


        operation of its loyalty program.

                 125. Defendants have maintained and exercised the power to exclude and restrict


        competition to their respective Relevant AIs and crop protection products containing those Relevant


        AIs, which no longer had any patent protection.


                 126. Each Defendant s monopoly power is also shown through drcumstantml evidence,


        including dominant or substantial market shares in Its Relevant Market with substantial barriers to


        entry.


                 127. Potential generic manufacturers face significant capital, technical, regulatory, and


        legal barriers. The Defendants' use of loyalty programs also imposed a substantial barrier to entry by,

        among other things, limiting generic manufacturers' access to the traditional distribution channel.


                 128. Syngenta maintained dominant shares of the United States Relevant Market for Its

        Relevant AIs azoxystrobin, mesotrione, metolachlor, fomesafen, paraquat, and lambda cyhalothrin


        from at least 2017 through the present.


                 129. BASF maintained dominant shares of the United States Relevant Market for its

        Relevant AIs boscalid, F500, glufosmate nmmonium, imazamoz, and pendlmethalin from at least 2004




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       through the present.


                130. Corteva maintained dominant shares of the United States Relevant Market for its


       Relevant AIs rimsulfuron, acetochlor, oxam}rl. Each year, from at le^ist 2017 through the present,


       Corteva maintained a substantial share of sales in each of these markets.


               I. Harm to Competition and Consumers


               131. Each Defendant's loyalty programs and other anticompetitive conduct in conjunction


       with the loyalty programs has harmed competition by substantiaUy foreclosing generic competition in

       the Relevant Markets, thereby lessening competition; raising prices; reducing innovation; lessening


       choice; causing generic competitors to exit or abandon plans to enter die Relevant Markets; and/or


       tending to create or mamtain monopolies in die Relevant Markets. Defendants' loyalty programs have


       also harmed consumers—i.e., farmers—by causing higher prices, reduced innovation, and reduced


       choice for farmers in the Relevant Markets.


               132. Each Defendant's anticompetitive conduct is not reasonably necessary to achieve any


       cogmzable pro competitive benefits. The anticompetitive harm from their conduct outweighs any


       procompetidve benefits, and each Defendant could reasonably achieve any procompetltive goals


       through less restrictive alternatives.


               133. Each Defendant's unlawful conduct Is ongoing. Upon information and belief, each


       Defendant continues to operate its loyalty program, including by enforcing loyalty thresholds and

       making payments to distributors for meeting these thresholds, thereby excluding generic

       competition. Absent injunctive relief ordered by this Court, each Defendant is likely to continue to

       harm competition and the public interest.


               J. Foreclosure of Competition


               134. Defendants have harmed competition by foreclosing actual or potential


       competitors from access to distribution services, or by foreclosing actual or potential competitors




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        from access to efficient distribution channels.


                 135. The most efficient channel of distribution for each Relevant Market is through those

        distributors used by Defendants and controlled through the incentives of the loyalty programs. Each

        Defendants loyalty program has almost entirely foreclosed generic manufacturers from access to the


        traditional distribution channel. With respect to each Relevant Market, this exclusion of generic

        competitors from the tmdltional channel has harmed die effectiveness of generic competltot's by


        severely limiting their ability to achieve efficient, cost-effective distribution, and In some circumstances


        anj disfa'lbution.


                 136. By excluding generic competitors from the trtidltional distribution channel, each

        Defendant's loyalty program has foreclosed a substandal share of each applicable Relevant IVfatket to

        generic competition. This is because a high percentage of all pesticide sales are made through the


        traditional channel (over 90%) and a high proportion of the traditional channel participants in

        Defendants' loyalty programs. Thus, each Defendant's loyalty program has effectively foreclosed

        generic competit-ors from competing for a large portion of each applicable Relevant JVTai'ket.


                 137. The market foreclosiu'e created by Defendants' loyalty programs has been of


        substantial duration. Generic manufacturers of pesticides containing the applicable Relevant AIs have


        been substantially foreclosed from the Relevant Markets for five years or more, including since at least


        2017.


                 138. Defendants' loyalty programs have further foreclosed competition by offering and

        providing payments to distributors even when distributors do not agree or otherwise commit, in


        advance, to meet the relevant targets that the Defendants include in theis loyalty programs. The


        prospect of receiving a payment from Defendants—as well as profits from the higher prices caused by


        the market-wide exclusion of generics—has effectively induced distributors to limit or forgo purchases


        from lower-priced competitors that offer or would offer generic pesticides containing the Relevant AIs.




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               139. Distributors adhere to Defendants' loyalty-progmm thresholds in significant part


       due to the prospect of receiving substantial payments under the programs. In addition, structural


       features of each Defendant's loyalty program promote adherence, and are strictly enforced.


               140. Distributors' incentive to comply wit-h loyfilty-program thresholds is further

       enlwiced by the fact that substantially all major distributors pdi-ticlpate in die programs. Distributors

       profit more when prices to retailers and farmers are higher, therefore die disU'ibutors^ collective


       parddpation in the loyalty programs results in sustained inflated prices to farmers.

               141. Distributors are further incentrmed to comply with the loyalty programs by their

       knowledge that all of their distributor-competitors are participating, and no one is going to break ranks


       and lower die prices and profits that they all enjoy under the scheme or compete for market share.


               142. Together with Defendants' strict enforcement efforts, these features of Defendants'


       loynlty programs incentivize distributors to meet applicable loyalty thresholds by forgoing or severely

       limiting purchases from generic manufacturers.


               143. Upon information and belief, Defendants also discourage distributors from passing

       on payments made pursuant to loyalty programs to farmers. Tills has the effect of maintaining


       artificially high prices for pesticides manufactured by Defendants in the Relevant Markets.

               144. The terms of loyalty programs are confidential and are not accessible by farmers or


       manufacturers of generic pesticides. The complexity, lack of transparency to farmers and generic


       manufacturers harmed by the conduct, and deferred payment timing of loyalty programs causes


       distributors to retain loyalty program payments as profit and makes them less Ukely to pass on loyalty

       program payments to farmers in the form of lower prices.


               145. As a result of Defendants' respective loyalty programs, distributors have severely


       limited their purchase, promotion, and sale of generic pesticides containing each Relevant AI, To meet


       applicable loyalty thresholds, distributors have omitted generic products from their product lists,



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        refused customer requests for generics, declined generic companies' offers to seU pesticides, and


        steered retailers and farmers toward branded products.


                146. As ?i result of Defendants' respective loyalty programs, distributors have declined


        to buy more than minimal amounts of pesticides containing each applicable Relevant AI from generic


        manufacturers, despite sufficient demand, availability, and qualhy of generic products.

                147. With respect to each Relevant AI, in the absence of the applicable loyalty program,

        generic manufacturers would make significantly more sales to distributors, which would enable them


        to realize distribution efficiencies and scale benefits. These benefits would increase price competition,


        innovation, and choice In Relevant Markets, which in turn would benefit American farmers.


                148. In die absence of Defendants' respective loyalty programs, sales of generic


        pesticides containing Relevant AIs would be significantly higher and would exceed the limits dictated

        by due loyalty programs. American farmers would benefit from having an increased amount of lower-


        price generic products available in Relevant Markets.


                149. In contrast to the Relevant AIs, when selling products containing active mgredients


        that are not subject to the loyalt}^ programs, generic manufacturers are able to make all or nearly all of


        their sales tlu-ough traditional distubution channels.


                150. In the applicable Relevant Markets, Syngenta has added an additional layer of

        foreclosure to that created by its dlstributot loyalty program through its retail loyalty program. As with

        the distributor program, die retail program has substantially foreclosed generic manufacturers from


        efficient distribution of their products, given the pafticipatlon of leading retailers in the program.

                151. Each Defendant's so-called "loyalty program" has prevented, delayed, and


        diminished entry and expansion by generic manufacturers of pesticides containing applicable Relevant

        AIs, and caused generic pesticide manufacturers to exit the market for products containing Relevant


        AIs, even when generic manufacturers can otherwise satisfy regulatoiy conditions and overcome other




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        barriers to entry.


                152. Multiple generic manufacturers have concluded that entry into the market is not


        economically feasible due to the artificial constraints created by Defendants' respective loyalty


        programs.


                153. In some cases. Defendants' loyalty programs have caused foreclosure of sales


        opportunities that have led a generic manufacturer already competing in a Relevant Market not to re-


        register its product, or to stop offering a product containing the Relevant AL


                154. In the absence of Defendants' respective loyalty programs, generic manufacturers


        would compete more effectively and compete for more sales in each Relevant Market.


                155. Each Defendant's so-called "loyalty program" has reduced die ability and Incentive


        of generic manufachirers to bring new differentiated pesticides containing applicable Relevant AIs to

        market, harming innovfltion, and restricting farmer cho-ice.


                156. Generic manufacturers often create new active-Ingredient mixtures or other new


        offerings that meet farmer needs. Generic manufacturers also often innovate on the non-active-


        ingredient components of pesticides in ways that are beneficial to farmers.


                157. Because of the barriers to entry crent-ed by Defendants' respective loyalty programs,


        generic manufacturers have in several instances abandoned attempts to develop innovative products


        containing applicable Relevant AIs. For the same reason, when det-ermming whether to bring to


        market an innovative product, such as a new mixture, generic manufacturers have sought to avoid


        using active ingredients that are subject to any of Defendants' loyalty program.


                158. In due absence of Defendants' respective loyalty programs, there would be more


        innovative products from generic manufacturers in die applicable Relevant Markets, leading to more


        farmer choice.


                159. Each Defendant's so-called "loyalty program" has resulted in higher prices to




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         farmers for pesticides containing Relevant AIs than would prevail in competitive markets. Each

        Defendant s anticompetitive conduct has thwarted the downward price pressure from generic


         manufacturers' entry and expansion, denying these generics access to efficient and effective


        distribution and resulting in artificially high prices in markets for pesticides containing Relevant AIs.

                 160. Generic pesticides are generally priced lower than branded equivalents, and as to


         each Relevant AI, farmers pay more for pesticides confaining the active ingredient because the


         applicable loyalty program artificially limits the availability of lower-priced generic alternatives. In

         many cases, farmers buy the more expensive, branded product because that is what Is available and/or


        what is promoted by die traditional distribution channel, and not because that is what they prefer.

        Defendants' loyalty programs thus result in unmet and unrealized demand for lower-priced equivalent


        generic products.


                 161. When generic manufacturers can access the market for an active Ingredient, they put


        downward pressure on the prices of branded products containing that active ingredient, and they exert


        more pressure the more access they achieve. This downward pressure affects not only lower-end


        brands for which generics have exact substitutes upon entry, but all products containing the active


        ingredient, including higher end mixture products. Defendants' loyalty programs, however, inhibit


        generic manufacturers' ability to access relevant markets and thus limit downward pricing pressure


        from generic competition.


                 162. Even where generic manufacturers enter and sell at low prices to distributors,


        Defendants* loyalty ptograms result in higher prices to farmers by limiting the amount of available

        generic product. This, m turn, enables distributors or retailers to price generic products just under


        branded products and to maintain branded prices, thus preventmg the full benefits of generic price

        competition from flowing to farmers.


                 163. In countries where pesticide loyalty programs do not exist, generic manufacturers




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        have been able to compete more effectively, and farmers pay correspondingly lower prices.


                164. Even where generic manufacturers, over time, have been able to enter a given


        Relevant Market and have provided some measure of price competition. Defendants' loyalty programs


        have limited the effects of this competition. Defendants' respective price responses, and responses of


        prices more generally m the applicable Relevant Market, have been less significant, and slower, than


        they otherwise would have been, absent operation of die applicable loyalty program.


                                     V. CLASS ACTIQKALLEGATIQNS

                165. Plaintiff brings this action on behalf of itself and as a class act-Ion under the


        provisions of Rules 23(a) and (b) of die Federal Rules of Civil Procedure, on behalf of members of

        the following Plaintiff Class:

                        All persons or entides who, since January 1,2004,and continuing until the effects of
                        the unlawful conduct cease (the Class Period"), purchased pesticides in the United
                        States containmg the active ingredients azoxystrobin, mesotrione, metolachlor,
                        fomesafen, paraquat, lambda cyhalothrm directly ft'om Syngenta or any distributor or
                        retailer participating in Syngenta's Loyalty Program; rimsulfuron, oxamyl, or
                        ticetochlor directly from Corteva or any dlstubutor or retailer participating in Corteva^s
                        Loyalty Program; boscalid, P500, glufosinate ammomum, imazamox, or pendimethalm
                        directly from BASF or any distributor or retailer participating in BASF^s Loyalty
                        Program.


                166. Excluded from the Class are Defendants and their officers, directors, management,


        employees, parents, subsidiaries, affiliates, and co-consptrators (i.e., distribut-ors or retailers


        participating in Defendants' loyalty programs involving the Relevant AI products); and any persons


        or entities that purchased pesticides solely for resale to others. Also excluded are any federal, state, or


        local governmental entities and their departments, agencies, divisions, bureaus, boards, sections,


        groups, counsels and/or subdivisions, any judicial officers presiding over this action and their law


        clerks and spouses; any persons witliin three degrees of relationship to those living in the judicial

        officers' household; and tlie spouses of all such persons.


                167. Members of the Class are so numerous and geographically dispersed that Joinder is




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        impracticable. Further, members of the Class are readily identifiable from information and records in


        Defendants' possession.


                 168. Plaintiffs claims are typical of the claims of the members of the Class. Plaintiff and

        members of the Class were damaged by the same wrongful conduct of Defendants.


                 169. Plaintiff will fairly and adequately protect and represent the interests of members

        of the Class. Plaintiffs interests are colncldent with, and not antagomstic to, those of members of the


        Class.


                 170. Plaintiff is represented by counsel with experience in the prosecution and leadership

        of antitrust class actions and other complex litigation.


                 171. Questions of law and fact common to die members of die Class predominate over


        questions that may affect only individual Class members, thereby making damages with respect to

        members of the Class as a whole appropriate. Questions of law and fact common to members of the


        Class include, but are not limited to:


                 a. Whether Defendants conspired to unreasonably restrain trade in violation of federal
                        antitrust laws;


                 b. Whether Defendants unlawfully monopolized or conspired to monopolize the relevant
                        markets;


                 c. Whether Defendants violated Sections 1 and/or 2 of die Sherman Act;


                 d. Whether Defendants violated Section 3 of the Clayton Act;


                 e. The scope and duration of the alleged conspiracy;

                 f. Injury suffered by Plaindffand members of the Class;


                 g. Damages suffered by Plaindffand members of the Class; and

                 h. Whether Defendants have acted or refused to act on grounds geaefally applicable to
                        members of the Class, thereby making appropriate final injunctive relief or
                        corresponding declaratory relief with respect to members of the Class as a whole.


                 172. Class action treatment is a superior method for the fair and efficient adjudicatlon of



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       the controversy. Such treatment will permit a large number of slmUafly situated persons to prosecute


        their common claims in a single forum simultaneously, efficiently, and without die unnecessary


       duplication of evidence, effort-, or expense that numerous individual actions would require.


               173. The benefits of proceeding through the class mechanism, including providing


       injured persons or entities a method for obtaining redress on claims that could not practicably be


       pursued indlviduaUy, substantially outweigh potential difficulties in management of tills class action.


               174. Plaintiff knows of no special difficulty to be encountered in the maintenance of this

       action that would preclude Its maintenance as a class action.


               175. Plaintiff has defined members of die Class based on currendy available information

       and hereby reserves die right to amend the definition of members of die Class, including, without


       limitation, the Class Period.


                VI. EQUITABLE TOLLING AND FRAUDULENT CONCEALMENT

               176. By equitable estoppel, die Defendants' concealment of tlieir unlawful combination


       and conspiracy has tolled any applicable statute of limitations for Plaintiff and the Class with respect

       to any claims and rights of action that Plaintiff and the Class have alleged in this Complaint.

               177. Plaintiff and the Class were not placed on actual or constmctive notice of the


       conspiracies alleged herein until, at the earliest, die FTC's and AGs' September 29, 2022 complaint


       made public its investigation Into the Defendants' misconduct and its allegations t-h^t Defendants'


       loyalty program agreements with the distributors restrained competition and caused higher prices,


       among other harms.


               178. Throughout the Class Period, the Defendants effectively, a ffinna lively, ?md


       fraudulently concealed their unlawful combination and conspiracy from Plaintiff and die Class.


               179. The Defendants maintain and enforce strict confidentiality provisions in their

       agreements with one another and the conditions and descriptions of their respective loyalty programs.




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        Distributors' contracts also contain strict confidentiality provisions, prohibiting the disclosures of

        prices retailers pay to wholesalers for the Relevant AI products.


                180. Defendants all publicly stated dial they were In compliance with federal laws that

        governed their conduct, including federal antitrust laws. Plaintiff and Members of the Class could and


        did rely on such statements and thus were misled into believing that no anticompetitive activity was

        occurring.


                181. For example, Syngenta's current Code of Conduct ("CoC") states at page 6 thtit


        <c[a]s an industry leader, we take our responsibilities very seriously. We are tomsparent and responsible


        and comply with aU applicable l?iws and ensure that employees are aware of those laws relevant to


        those roles. At page 8 of the same document, it states that <([\v]e ensure that all business practices


        comply with the competition law wherever business is conducted. Competition laws apply to business


        conduct in general and to all business arrangements, irrespective of whether they are written, oral, or


        in any other form."


                182. Corteva's CoC states at page 12 that "[w]e conduct business eAically. Ever)7 time


        we represent Corteva Agriscience, it is our chance to make a positive impression. We speak with pride,


        honesty, and transparency about our work to promote trust, confidence, and sustainable business."


        At page 14 of the same document, Corteva states that it does not "interfere with our competitot's


        business relationships", or "[u]se our market strength or market information to unfairly harm or


        unlawfully prevent competition.


                183. BASF's current CoC at page 14 touts "our integrity as a company—that means




        n Available at https:/A\'ww,syngentagroup.com/sites/syngenta-group/files/governance/code-of-
        conduct/syn-240-sg-coc-english-aw5.pdf(last accessed Feb. 15, 2023).
        12 Available at https://\v\v\v,coi:teva. corn/content/dam/dpagco/cortev'A/global/corporate/files/code-of-
        conduct/Corteva_Code_Interacdve_enEN_English.pdf (last accessed Feb. 15, 2023).
        13 Available at https://w\vw.bflsf.com/global/documents/en/news-and-
        media/pubUcations/reporrs/2020/BASF_Code_of_ConducL2020^EN.pdf (last accessed Feb. 15, 2023).



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        living up to die spirit and the letters of t-he laws that govern our industry. ..." At page 26 of the same


        document, BASF adds

                                 [\v]e are committed to conducting our business solely
                                on the basis of free and fait competition, and we strictly
                                obey all applicable laws and regulations. We believe
                                that fair, well- regulated competition strengthens our
                                market- and benefits our customers. As a market leader
                                m various fields, BASF has special obligations under
                                antitrust law for conducting our business in a way that
                                promises fair competition. We welcome this extra
                                responsibility, and aim to lead by example, to achieve
                                die best for our customers. We are aware that any
                                violation of antitrust laws can result in heavy Sues, and
                                even imprisonment, for the company, management
                                and individuals concerned. It is up to all of us to be
                                alert for any situation that could potentially be seen as
                                harmful to free and fair competition.


                  184. These promises in Defendants' respective CoCs are belied by theif respecdve


        conduct set forl-h in this complaint. Their ultimate customers—Uke the Plaintiff here—relied on their


        self-professed integrity and law-abiding goals ;ind were misled as a result.


                  185. Accordingly, prior to due filing of the FTC Action, Plaintiff and the Members of

        the Class have had virtually no visibility into Defendants' loyalty programs, other than those

       unredacted portions of the FTCs recent complaint, let alone visibility of die conspiracy to use the


       loyalty programs to restrain trade and maintain supra-competltlve pesticide prices.


                                           VII. CLAIMS FOR RELIEF

                           COUNT I: UNLAWFUL CONDFTIONING OF PAYMENTS
                           in Violation of Section 3 of the Clayton Act (15 U.S.C. § 14)


                 186. Plaintiff incorporates by reference each preceding paragraph as though fully set

       forth herein.


                 187. Defendants provided payments in die form of rebates m the sale ofat-issue crop




        14 V. at 26.




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         protection products to distributors in exchange for distributors' agreements not to use or deal m the


         goods of generic competitors in accordance with Defendants loyalty programs. This conduct


         substantiaUy lessened competition and created monopolies in the at-lssue products In the Relevant


         Markets, in violation of Section 3 of the Clnyton Act (15 U.S.C. § 14).

                 188. As a result, generic competition in the Relevant AI Markets was substantially


         restrained and the Defendants unlawfully maintained monopolies in die at-issue products, which


         caused the prices of the at-lssue products purchased by Plaintiff and Class Members to be higher than

         they would have been in die absence of the Defendants' agreements with distributors.


                 189. Plaintiff and Class Members were injured and damaged because they purchssed at-

         issue products at supra-competitive prices caused by Defendants' violations of Section 3 of the


         Clayton Act.


                                 COUNT II: UNLAWFUL MONOPOLIZATION
                   Monopolization in Violation of Section 2 of the Sherman Act (15 U.S.C. § 2)

                 190. Plaintiff incorpomtes by reference each preceding paragraph as though fully set

         forth herein.


                 191. At all times relevant to assessing its conduct, Syngenta has had monopoly power in


         Relevant Markets for a;zoxystrobm, metolachlor, mesotrione, s-metolachlor, fomesafen, p'araquat, and


         lambda cyhalothrin. At aU times relevant to assessing its conduct, Corteva has had monopoly power in


         Relevant Markets for rimsulfuron, acetochlor, and oxamyl. At all relevant times, BASF has had


         monopoly power in the Relevant Markets for boscalld, F500, glufosinate ammonium, ima^amox, and


         pendimethalin.

                 192. Each Defendant has maintained its monopoly power through a course of


         anticompetitive and excluslonai'y conduct by entering and maintaining agreements with distributors


         that contain competition-Umitmg loyalty requirements and, among other things, enforcing and




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        threatening enforcement of these requirements or the imposition of other penalties for insufficient


        loyalty in violation of Section 2 of the Sherman Act (15 U.S.C. § 2).

                 193. Plaintiff and members of the Class were injured by Defendants maintaining their

        monopoli^ation of the Relevant Markets for the at-issue products, which allowed Defendants to price


        the at-issue products at artificially high levels that bar or limit competitive entry. Plaintiff and the Class

        Members paid higher prices for the at-issue products than they otherwise would have absent


        Defendants violations of Section 2 of the Sherman Act.


                 194. Plaintiff and Class Members have no adequate remedy at law to prevent


        Defendants' ongoing and future anticompetitive conduct and therefore seek an injunction to prevent


        them from continumg with such conduct.


                                 COUNT III: CONSPIRACY TO MONOPOLIZE
                                                       (15U.S.C.§2)

                 195. Plaintiff incorpomtes by reference each preceding paragraph as though fully set


        forth herein.


                 196. Defendants individually conspired with distributors to unlawfully maintain


        Defendants' monopolies in the at-issue products through anticompetitive exclusionary agreements.


        The co-conspiring distributors intentionally facUitafed Defendants' efforts to IHegally mnmtain their

        monopoly power m the Relevant Markets for the -at-issue products by p?u-ticipnring m Defendants'


        loyalty programs, which were designed to ^nd did ?irtifici?iUy restricf generic competition, as described

        above.


                 197. The intent and goal of Defendants and their distributors was to maintain the

        Defendants' monopolies in the at-issue products so that Defenddnts and the distributors could


        eliminate or limit the threat from generic competition and continue to charge supra-competitive prices


        for die at-tssue products.




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                198. Plaintiff and Class Members were injured by Defendants' agreements with

        distributors that unreasonably restrained trade and raised, fixed, maintained, or stabilized prices of the


        nt-lssue products at artlflciaUy liigh levels. Plaintiff and Class Members paid higher prices for the at-

        Issue products than they otherwise would have absent Defendants' violation of Section 2 of the


        Sherman Act.


                199. Plaintiff and Class Members have no adequate remedy at law to prevent


        Defendants* ongoing and future anticompetitive conduct and therefore seek an injunction to prevent


        them from continuing with such conduct.


                              COUNT TV: UNREASONABLE RESTRAINTS OF TRADE

                                in Violation of Section 1 of the Sherman Act (15 U.S.C. § 1)

                200. Plaintiff incorporates by reference each preceding paragraph as though fully set

        forth herein.


                201. Defendants entered into unlawful contracts, combinations or conspiracies with


        distributors in unreasonable restraint of trade in violation of Section 1 of the Sherman Act (15 U.S.C.


        §1).

                202. These agreements had the purpose and the effect of restricting sales of generic


        versions of the at-issue products in order to preserve Defendants' monopolies in the at-issue products


        and to Mtificmlly raise, fix, maintain, or stabilize the prices of the at-lssue products. Distributors agreed


        widi Defendants to essentially boycott generic versions of the at-issue products.


                203. These practices were unreasonable restraints of trade in violation of Section 1 of


        the Sherman Act. Even if these violations are contended not to constitute per se offenses, they are


        unlawful under either a "quick look" or rule of reason analysis.


                204. Plaintiff and Class Members were injured by Defendants agreements with

        distributors that um'edsonably restrained trade and raised, fixed, maintained, or stabilized prices of the




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       at-lssue products at artificially high levels. Plaintiff and Class Members paid higher prices for the at-

       issue products than they otherwise would h?ive in the absence of Defendants' violations of Section 1


       of the Sherman Act.


               205. Plaintiff and Class Members have no adequate remedy at l?iw to prevent


       Defendants' ongoing and future anticompetitive conduct and therefore seek an injunction to prevent


       them from continuing with such conduct.


                                          I. PRAYER FOR RELIEF

               Plaintiff, on behalf of itself and the proposed Class, respectfully request judgment against

       Defendants as follows:


               A. That the Court cerdfy this lawsuit as a class action under Rules 23(a) and (b)(3) of the

               Federal Rules of Civil Procedure, that Plaintiff be designated as class representative, that


               Plaintiffs counsel of record be appointed as Class counsel, and that the Court direct that notice


               of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be given

               to tlie Class, once certified;


               B. That the Court adjudge and decree th?it Defendants each have violated Sections 1 and


               2 of the Sherman Act;

               C. That the Court adJudge and decree that Defendants each have violated Section 3 of


               the Clayton Act;

              D. That Plaintiff and all others similarly situated by granted inJunctive relief with respect

               to Defendants' ongoing anticompetitive conduct;


              E. That Plaintiff and all other siinlltirly situated be awarded damages suffered by reason

              of these violations and that those damages be trebled in accordance with die law;


              F. That the Court award Plaintiff and the Class their costs of suit, including reasonable


              attorneys fees and expenses, including expert fees, as provided by law; and




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              G. That the Court direct such other and further relief as the case may require and the


              Court may deem just and proper.


                                    VIII. DEMAND FOR TURY TRIAL

              Plaintiff hereby demands a trial by jury on all claims so tmble.

         Dated: February 28, 2023 Respectfully submitted,



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